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                                                  Notes:




            MONDAY                                TUESDAY                       WEDNESDAY                                    THURSDAY                                                 FRIDAY
            07/10/17                               07/11/17                        07/12/17                                    07/13/17                                               07/14/17
                                                                                **Start Time**                              **Start Time**                                         **Start Time**
0800 to 1200                            0800 to 0830                    0730 to 0830                              0730 to 1130                                            0730 to 1130
ADMIN. TIME                             WELCOME TO ACADEMY              ADMIN                                     INTRODUCTION TO WELLNESS                                OFFICER SURVIVAL
                                        ADMIN Staff 0.5 hours           Welcome to CSPD                           WELLNESS IX-A (Post 4/0)                                (Officer Safety Lecture)
(CSPD Human Resources)
At the POC                              0830 to 0930                    Chief Carey                               Nutrition                                               BASIC-V-B (Post 8/4)
                                                                        1 hour                                    Van Ooyen                                               Compton
ADMIN                                   RULES CSPD-52
                                        Sgt. Frabbiele                                                            4 hours                                                 4 hours
4 hours
                                        1 hour                          0830 to 0930
                                        0930 to 1030                    CSPD HISTORY
                                        INSPECTION                      CSPD-16
                                        Staff                           Van Ooyen
                                        1 hour                          1 hour (Rev A)
                                        1030 to 1130
                                        ORIENTATION TOUR                0930 to 1100
                                        Team Meeting                    ADMIN
                                        1 hour                          Timora
                                                                        1.5 hours (Rev A)

              Lunch                                  Lunch                           Lunch                                       Lunch                                                   Lunch
     1200 to 1300 (1 hour) 8               1130 to 1200 (30 min.) 8.5       1100 to 1200 (1 hour) 7.5                   1130 to 1230 (1 hour) 8                                  1130 to 1230 (1 hour) 8
                                                                                                                                                                                        (40)(80)
 1300 to 1700                           1200 to 1500                    1200 to 1600                              1230 to 1430                                            1230 to 1630
                                        ADMIN                           ADMIN                                     ADMIN                                                   OFFICER SURVIVAL
ADMIN. TIME
                                        Equipment Issue                 IT/Computers                              Timora                                                  (Officer Safety Lecture)
(City Human Resources)                  Timora                                                                    2 hours
At the POC                                                              4 hours                                                                                           BASIC-V-B (Post 8/0)
                                        3 hours
                                                                                                                                                                          Compton
ADMIN                                                                                                             1430 to 1630
                                                                                                                                                                          4 hours
                                        1500 to 1700                                                              WELLNESS LAB
4 hours
                                        WELLNESS LAB                                                              WELLNESS-IX-B
                                        WELLNESS IX-B                                                             Staff (Cemetery Run)
                                        (Post 24/22)                                                              (Post 24/20)
                                        Staff (Wilson Park)                                                       2 hours
                                        2 hours




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                                                                                                                                                                                     CITY DEFS - 006250
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                                                    Notes:




           MONDAY                                   TUESDAY                     WEDNESDAY                                       THURSDAY                                                   FRIDAY
           07/17/17                                  07/18/17                      07/19/17                                      07/20/17                                                  07/21/17
                                                                                **Start Time**
0800 to 1100                             0800 to 1230                     0800 to 1200                             0730 to 1130                                            0730 to 1030
CRIMINAL PROCESS                         ARREST CONTROL -II               ARREST, SEARCH &                         REPORT WRITING                                          POLICIES & PROCEDURES
(Intro to the Criminal Justice System)   (Use of Force Considerations /   SEIZURE (Persons)                        BASIC-VIII-A (Post 24/16)                               CSPD-5
BASIC-I-A (Post 8/5)                     De-escalation Lecture)                                                                                                            Sgt. Frabbiele
                                                                          BASIC-II-A (Post 12/8)                   MFR
Farmer                                   (Post 62/57.5)                                                                                                                    3 hours (Rev. A)
                                         Van Ooyen                        Ingalsbe/DA’s Office                     Thompson/CSPD Tech Team
3 hours                                                                                                            4 hours (Rev. A)
                                          4.5 hours                       4 hours (Rev. B)
                                                                                                                                                                           1030 to 1100
                                                                                                                                                                           CALEA
                                                                                                                                                                           L. Herbert
                                                                                                                                                                           .5 hours
                                                                                                                                                                           (Rev. A)


              Lunch                                  Lunch                            Lunch                                       Lunch                                                  Lunch
     1100 to 1200 (1 hour) 8                1230 to 1330 (1 hour) 8.5        1200 to 1230 (30 min.) 9                    1130 to 1230 (1 hour) 8                               1100 to 1130 (30 min.) 9.5
                                                                                                                                                                                          (43)
1200 to 1700                             1330 to 1400                     1230 to 1330                             1230 to 1500                                            1130 to 1530
                                         Admin                            ADMIN                                    ADMIN                                                   REPORT WRITING
CRIMINAL PROCESS
                                         Inspection                       Team Meetings                            Timora
(US Constitution)                                                                                                                                                          “The Why” (Post 24/20)
                                         .5 hours
BASIC-I-A (Post 8/0)                                                      1 hour (Rev. B)                          2.5 hours (Rev. A)                                      BASIC-VIII-A
Farmer                                   1400 to 1600                                                                                                                      Thompson
                                                                          1330 to 1730                             1500 to 1630                                             4 hours (Rev. A)
                                         LEGAL LIABILITY
5 hours                                                                   PEDESTRIAN CONTACTS                      WELLNESS LAB
                                         (Sexual Harassment)
                                                                                                                   WELLNESS IX-B
                                         BASIC-II-F (Post 4/2)            BASIC-V-C (Post 4/0)                     (Post 24/17)                                            1530 to 1730
                                         Whitlock/ Cmdr. Olszewski                                                                                                         ADMIN
                                                                          Compton                                  Van Ooyen
                                         2 hours                                                                                                                           Timora
                                                                          4 hours (Rev. B)                         1.5 hours (Rev. A)
                                                                                                                                                                           2 hours (Rev. A)
                                         1600 to 1730
                                         WELLNESS LAB
                                         WELLNESS IX-B
                                         (Post 24/18.5)
                                         Van Ooyen
                                         1.5 hours




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                                                                                                                                                                                      CITY DEFS - 006251
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                                                   Notes:




           MONDAY                                TUESDAY                       WEDNESDAY                                            THURSDAY                                                   FRIDAY
           07/24/17                               07/25/17                       07/26/17                                            07/27/17                                                  07/28/17
                                               **Start Time**
0800 to 1200                            1130 to 1330                    0800 to 1000                                   0800 to 1200                                            0800 to 1200
                                        RADIO PROCEDURES                SELF WORK TIME
VERBAL COMMUNICATION                                                                                                   LAW ENFORCEMENT                                         LAW ENFORCEMENT
                                        CSPD-6                          2 hours
TECHNIQUES                              Ingalsbe/Carla Lewis                                                           DRIVING-X (Lecture)                                     DRIVING-X (Lecture)
BASIC-VIII-B (Post 8/4)                 2 hours                         1000 to 1130                                   (Post 8/4)                                              Pursuits and Below 100
Farmer                                                                  TEST 1                                         Thompson                                                (Post 8/0)
                                        1330 to 1530                    CSPD-24
4 hours                                                                                                                 4 hours                                                Thompson /VanOoyen
                                        Mindful Officer                 Thompson
                                        Officer J. Newton               1.5 hours                                                                                              4 hours
                                        CSPD-67
                                        2 hours

                                        1530 to 1700
                                        WELLNESS LAB
                                        WELLNESS IX-B
                                        (Post 24/15.5)
                                        Van Ooyen
                                        1.5 hours
             Lunch                                   Lunch                          Lunch                                             Lunch                                                  Lunch
     1200 to 1300 (1 hour) 6                1700 to 1800 (1 hour) 7.5      1130 to 1200 (30 min.) 8.5                        1200 to 1300 (1 hour) 6                                 1200 to 1300 (1 hour) 9
                                                                                                                                                                                             (37)(80)
1300 to 1500                            1800 to 2000                    1200 to 1400                                   1300 to 1330                                            1300 to 1600
                                                                        LEGAL LIABILITY                                ADMIN                                                   LAW ENFORCEMENT DRIVING-
VERBAL COMMUNICATION                    Family Academy, Session #1
                                                                        (Civil Liability)                              Team Meetings                                           X (Lecture)
TECHNIQUES                              Chief Carey and Staff           BASIC- II-F (Post 4/0)                         .5 hour
BASIC-VIII-B (Post 8/2)                 POC                                                                                                                                    TEST 2
                                                                        Van Ooyen/Fred Stein
                                                                                                                                                                               DRIVING WRITTEN
Farmer                                  2 hours                         2 hours                                        1330 to 1500                                            (Post 8/0)
2 hours                                                                                                                WELLNESS LAB                                            Thompson
                                                                        1400 to 1700
                                                                        ADMIN                                          WELLNESS IX-B                                           3 hours (11 hours total) (Rev. B)
                                                                        Timora                                         (Post 24/14)
                                                                        3 hours                                        Van Ooyen 1.5 hours                                     1600 to 1800
                                                                                                                                                                               ADMIN
                                                                                                                                                                               Vest Distribution
                                                                                                                                                                               Timora
                                                                                                                                                                               2 hours (Rev. B)




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                                                                                                                                                                                          CITY DEFS - 006252
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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                        THURSDAY                                                   FRIDAY
           07/31/17                                08/01/17                     08/02/17                                        08/03/17                                                  08/04/17

0730 to 1130                            0730 to 1130                    0730 to 1130                              0730 to 1130                                            0730 to 1130
FIREARMS BASIC                          FIREARMS BASIC-IV               FIREARMS BASIC-IV                         FIREARMS BASIC-IV                                       FIREARMS BASIC-IV
(Firearms Safety/Decisional)            (Basic Principles of Handgun)   (Basic Principles of Handgun)             (Basic Principles of Handgun)                           (Basic Principles of Handgun)
BASIC-I (Post 4/0)                      (Post 10/6)                     (Post 10/0)                               (Post 10/0)                                             (Post 10/0)
Acey/Clippinger                         Acey/Clippinger                 Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 4 hours                         4 hours                                   4 hours                                                 4 hours




              Lunch                                  Lunch                          Lunch                                        Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                1130 to 1230 (1 hour) 8        1130 to 1230 (1 hour) 8                      1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)

1230 to1630                             1230 to1630                     1230 to1630                               1230 to1630                                             1230 to 1630
FIREARMS BASIC-II                       FIREARMS BASIC-IV               FIREARMS BASIC-V                          FIREARMS BASIC-VI                                       FIREARMS BASIC-VI
(Equipment Selection/                   FIREARMS BASIC-III              (Weapon Management)                       (Decisional Shooting)                                   (Tactical Situations/ Shotgun)
Nomenclature) (Post 4/0)                (Basic Principles of Handgun)   (Post 4/0)                                (Post 6/2)                                              (Post 24/20)
Acey/Clippinger                         (Post 10/2)                     Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 (Weapon Maintenance)            4 hours                                   4 hours                                                 4 hours
                                        (Post 2/0)
                                        Acey/Clippinger
                                        4 hours




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                                                                                                                                                                                     CITY DEFS - 006253
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                                                  Notes:




           MONDAY                                 TUESDAY                  WEDNESDAY                                       THURSDAY                                                   FRIDAY
           07/31/17                                08/01/17                  08/02/17                                       08/03/17                                                  08/04/17

0730 to 1130                            0730 to 1130                   0730 to 1130                           0730 to 1130                                            0730 to 1130
ARREST CONTROL                          ARREST CONTROL                 ARREST CONTROL                         ARREST CONTROL                                          ARREST CONTROL
(Post 62/53.5)                          (Post 62/45.5)                 (Post 62/37.5)                         (Post 62/29.5)                                          (Post 62/21.5)
Van Ooyen                               Van Ooyen                      Van Ooyen                              Van Ooyen                                               Van Ooyen
4 hours                                 4 hours                        4 hours                                4 hours                                                 4 hours




             Lunch                                   Lunch                       Lunch                                       Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                 1130 to 1230 (1 hour) 8     1130 to 1230 (1 hour) 8                     1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)

1230 to 1630                            1230 to 1630                   1230 to 1630                           1230 to 1630                                            1230 to 1630
ARREST CONTROL                          ARREST CONTROL                 ARREST CONTROL                         ARREST CONTROL                                          ARREST CONTROL
(Post 62/49.5)                          (Post 62/41.5)                 (Post 62/33.5)                         (Post 62/25.5)                                          (Post 62/17.5)
Van Ooyen                               Van Ooyen                      Van Ooyen                              Van Ooyen                                               Van Ooyen
4 hours                                 4 hours                        4 hours                                4 hours                                                 4 hours




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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                       THURSDAY                                                   FRIDAY
           07/31/17                                08/01/17                     08/02/17                                       08/03/17                                                  08/04/17

0700 to 1100                            1130 to 1600                   1130 to 1600                              0830 to 1100                                            0800 to 1130
LAW ENFORCEMENT                         LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT DRIVING-X
                                                                                                                                                                         (Post 32/0)
DRIVING-X (Post 32/28)                  DRIVING-X (Post 32/17)         DRIVING-X (Post 32/7)                     DRIVING-X (Post 32/0)                                   PPIR
PPIR                                    PPIR                           PPIR                                      PPIR                                                    Thompson
Thompson                                Thompson                       Thompson                                  Thompson                                                1.5 hours (Rev. B)
4 hours                                 4.5 hours                      4.5 hours                                 2.5 hours
                                                                                                                                                                         TRAFFIC DIRECTION
                                                                                                                                                                         BASIC-VI-B (Post 2/0)
**Start Time is varied                                                                                                                                                   PPIR
please check schedule                                                                                                                                                    Thompson /Blackburn
                                                                                                                                                                         2 hours (Rev. B)
daily***
                                                                                                                                                                         3.5 hours (Rev. B)

             Lunch                                   Lunch                          Lunch                                       Lunch                                                Lunch
   1100 to 1200 (1 hour) 10.5               1600 to 1700 (1 hour) 10       1600 to 1700 (1 hour) 10                     1100 to 1200 (1 hour) 8                           1130 to 1230 (1 hour) 8.5 (47)

1200 to 1630                            1700 to 2230                   1700 to 2230                              1200 to 1730                                            1230 to 1730
LAW ENFORCEMENT DRIVING-X
                                        LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT
(Post 32/23.5)
PPIR                                    DRIVING-X (Post 32/11.5)       DRIVING-X (Post 32/1.5)                   DRIVING-X (Post 32/0)                                   DRIVING-X
Thompson                                PPIR                           PPIR                                      PPIR                                                     (POST 32/0)
4.5 hours                               Thompson                       Thompson                                  Thompson                                                PPIR
                                        5.5 hours                      5.5 hours                                 5.5 (8 hours total) (Rev. B)                            Thompson
1630 to 1730 Lunch 1 hour               (10 hours total)               (10 hours total)                                                                                  hours
1730 to 1930                                                                                                                                                             (5 hours total)
LAW ENFORCEMENT DRIVING-X                                                                                                                                                (Rev. B)
(Post 32/21.5)
PPIR
Thompson
2 hours
(Total 10.5 hours)




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                                                                                                                                                                                    CITY DEFS - 006255
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                                                  Notes:




           MONDAY                                 TUESDAY                   WEDNESDAY                                       THURSDAY                                                   FRIDAY
           08/07/17                                08/08/17                   08/09/17                                       08/10/17                                                  08/11/17
1300 to 1700                            1300 to 1700                  1300 to 1700                             1300 to 1700                                            1000 to 1400
FIREARMS BASIC-IV                       FIREARMS BASIC-VII            FIREARMS BASIC-VII                       FIREARMS BASIC-X                                        FIREARMS BASIC-IV
(Basic Principles of Handgun)           (Tactical Situations)         (Tactical Situations)                    (Qualification) (Post 1/0)                              TEST 3/FIREARMS
(Post 10/0)                             (Post 24/12)                  (Post 24/8)                              1 hour                                                  (Post Practical)
2 hours                                 Acey/Clippinger               Acey/Clippinger                          FIREARMS BASIC-VII                                      (Post Qual)
(Decisional Shooting)                   4 hours                       4 hours                                  (Tactical Situations)                                   (CSPD Qual)
(Post 6/0)                                                                                                     (Post 20/5)                                             (Post 10/0)
2 hours                                                                                                        Acey/Clippinger                                         Acey/Clippinger
Acey/Clippinger                                                                                                3 hours                                                 4 hours (Rev. A)

Start Time is 1300 for Range
(unless noted with a ***Start
Time***)
              Lunch                                  Lunch                        Lunch                                       Lunch                                                   Lunch
     1700 to 1800 (1 hour) 8                1700 to 1800 (1 hour) 8      1700 to 1800 (1 hour) 8                     1700 to 1800 (1 hour) 8                                 1400 to 1500 (1 hour) 8
                                                                                                                                                                                     (40)(80)
1800 to 2200                            1800 to 2200                  1800 to 2200                             1800 to 2200                                            1500 to 1800
FIREARMS BASIC-VII                      FIREARMS BASIC-VIII           FIREARMS BASIC-VIII                      FIREARMS BASIC-VII                                      FIREARMS BASIC-VII
(Tactical Situations)                   (Dim Light ) (Post 8/4)       (Dim Light ) (Post 8/0)                  (Tactical Situations)                                   (Tactical Situations)
(Post 24/16)                            Acey/Clippinger               Acey/Clippinger                          (Post 24/1)                                             (Post 24/0)
Acey/Clippinger                         4 hours                       4 hours                                  Acey/Clippinger                                         Acey/Clippinger
4 hours                                                                                                        4 hours                                                 3 hours (Rev. A)

                                                                                                                                                                       1800 to 1900
                                                                                                                                                                       FIREARMS BASIC-IX
                                                                                                                                                                       (Off Duty/Plain Clothes)
                                                                                                                                                                       (Post 1/0)
                                                                                                                                                                       Acey/Clippinger
                                                                                                                                                                       1 hour (Rev. A)




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                                                                                                                                                                                  CITY DEFS - 006256
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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                      THURSDAY                                                   FRIDAY
           08/07/17                                08/08/17                     08/09/17                                      08/10/17                                                  08/11/17
0730 to 1130                            0730 to 1130                   0730 to 1130                             0730 to 1130                                           0730 to 1130
TASER TRAINING                          ARREST CONTROL                 ARREST CONTROL                           ARREST CONTROL                                         ARREST CONTROL
CSPD-41                                 (Post 62/13.5)                 (Post 62/5.5)                            (Post 62/0)                                            (Post 62/0)
Van Ooyen/Sgt. David                    Van Ooyen                      Drill Training                           Drill Training                                         Van Ooyen
4 hours (8 hours total)                 4 hours                        4 hours                                  4 hours                                                4 hours
                                                                       Van Ooyen                                Van Ooyen

                                                                       (8 hours total)                          (8 hours total)




             Lunch                                   Lunch                         Lunch                                       Lunch                                               Lunch
     1130 to 1230 (1 hour) 8                 1130 to 1230 (1 hour) 8       1130 to 1230 (1 hour) 8                     1130 to 1230 (1 hour) 8                           1130 to 1230 (1 hour) 8 (40)
                                                                                                                                                                                     (80)
1230 to 1630                            1230 to 1630                   1230 to 1630                             1230 to 1630                                           1230 to 1630
TASER TRAINING                          ARREST CONTROL                 ARREST CONTROL                           ARREST CONTROL                                         ARREST CONTROL
CSPD-41                                  (Post 62/9.5)                  (Post 62/1.5)                           (Post 62/0)                                            (Post 62/0)
TEST 4(TASER)                           Van Ooyen                      Drill Training                           Drill Training                                         Van Ooyen
(Taser Written)                         4 hours                        4 hours                                  4 hours                                                4 hours
Drill Training                                                         Van Ooyen                                Van Ooyen
Van Ooyen/Sgt. David
4 hours total (8 hours total)                                          (8 hours total)                          (8 hours total)




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                                                                                                                                                                                  CITY DEFS - 006257
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                                                  Notes:




           MONDAY                                 TUESDAY                    WEDNESDAY                                     THURSDAY                                                    FRIDAY
           08/07/17                                08/08/17                     08/09/17                                    08/10/17                                                   08/11/17
                                                                             **Start Time**
0800 to 1200                            0800 to 1200                                                           0800 to 1000                                           0700 to 1130
NATIONAL INCIDENT                       GANGS AND COLORADO                                                     INTERNAL AFFAIRS                                       Body Worn Camera Training
MANAGEMENT AND ICS                      SPRINGS GANGS                                                          CSPD-42                                                BWC Team/Tech Team
BASIC-V-P (Post 4/0)                    BASIC-V-D (Post 2/0)                                                   Frabbiele/IA                                           Thompson/Lt. Graves
                                                                                                                                                                      4.5 hours (Rev. A)
NIMS700                                 Ingalsbe/Officer Voltz                                                 2 hours
Whitlock/Husted                         4 hours                         NO CLASSES                             1000 to 1230
4 hours                                                                 (Rev. A)                               Admin Time
                                                                                                               Armor Skins
                                                                                                               2.5 hours


             Lunch                                   Lunch                                                                   Lunch                                                        (33) (80)
     1200 to 1300 (1 hour) 8                 1200 to 1300 (1 hour) 8               9.5                              1230 to 1330 (1 hour) 7.5
1300 to 1700                            1300 to 1500                    1200 to 1700                           1330 to 1630
                                        COMMUNITY POLICING/
RADAR ENFORCEMENT                                                       CONTROLLED SUBSTANCES                  Admin
                                        COMMUNITY PARTNERSHIP/
CSPD-38                                                                 AND MARIJUANA LAWS                     Gas Mask Fittings
Whitlock/ Hallas
                                        HOT TEAM
                                        BASIC-IV-A (Post 2/0)           BASIC-II-H (Post 4/0)                  Staff                                                  NO CLASSES
4 hours                                 Compton/HOT Team                Thompson/R. Crews                      3 hours
                                        2 hours
                                                                        5 hours
                                        1500 to 1700
                                        PROBLEM SOLVING/CRIME
                                        PREVENTION
                                        BASIC-IV-B (Post 2/0)
                                        Compton/Crime Prevention Team
                                        2 hours




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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                        THURSDAY                                                   FRIDAY
           08/14/17                                08/15/17                     08/16/17                                        08/17/17                                                  08/18/17

0730 to 1130                            0730 to 1130                    0730 to 1130                              0730 to 1130                                            0730 to 1130
FIREARMS BASIC                          FIREARMS BASIC-IV               FIREARMS BASIC-IV                         FIREARMS BASIC-IV                                       FIREARMS BASIC-IV
(Firearms Safety/Decisional)            (Basic Principles of Handgun)   (Basic Principles of Handgun)             (Basic Principles of Handgun)                           (Basic Principles of Handgun)
BASIC-I (Post 4/0)                      (Post 10/6)                     (Post 10/0)                               (Post 10/0)                                             (Post 10/0)
Acey/Clippinger                         Acey/Clippinger                 Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 4 hours                         4 hours                                   4 hours                                                 4 hours




              Lunch                                  Lunch                          Lunch                                        Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                1130 to 1230 (1 hour) 8        1130 to 1230 (1 hour) 8                      1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)

1230 to1630                             1230 to1630                     1230 to1630                               1230 to1630                                             1230 to1630
FIREARMS BASIC-II                       FIREARMS BASIC-IV               FIREARMS BASIC-V                          FIREARMS BASIC-VI                                       FIREARMS BASIC-VI
(Equipment Selection/                   FIREARMS BASIC-III              (Weapon Management)                       (Decisional Shooting)                                   (Tactical Situations/ Shotgun)
Nomenclature) (Post 4/0)                (Basic Principles of Handgun)   (Post 4/0)                                (Post 6/2)                                              (Post 24/20)
Acey/Clippinger                         (Post 10/2)                     Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 (Weapon Maintenance)            4 hours                                   4 hours                                                 4 hours
                                        (Post 2/0)
                                        Acey/Clippinger
                                        4 hours




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                                                                                                                                                                                     CITY DEFS - 006259
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                                                  Notes:




           MONDAY                                 TUESDAY                  WEDNESDAY                                       THURSDAY                                                   FRIDAY
           08/14/17                                08/15/17                  08/16/17                                       08/17/17                                                  08/18/17

0730 to 1130                            0730 to 1130                   0730 to 1130                           0730 to 1130                                            0730 to 1130
ARREST CONTROL                          ARREST CONTROL                 ARREST CONTROL                         ARREST CONTROL                                          ARREST CONTROL
(Post 62/53.5)                          (Post 62/45.5)                 (Post 62/37.5)                         (Post 62/29.5)                                          (Post 62/21.5)
Van Ooyen                               Van Ooyen                      Van Ooyen                              Van Ooyen                                               Van Ooyen
4 hours                                 4 hours                        4 hours                                4 hours                                                 4 hours




             Lunch                                   Lunch                       Lunch                                       Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                 1130 to 1230 (1 hour) 8     1130 to 1230 (1 hour) 8                     1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)

1230 to 1630                            1230 to 1630                   1230 to 1630                           1230 to 1630                                            1230 to 1630
ARREST CONTROL                          ARREST CONTROL                 ARREST CONTROL                         ARREST CONTROL                                          ARREST CONTROL
(Post 62/49.5)                          (Post 62/41.5)                 (Post 62/33.5)                         (Post 62/25.5)                                          (Post 62/17.5)
Van Ooyen                               Van Ooyen                      Van Ooyen                              Van Ooyen                                               Van Ooyen
4 hours                                 4 hours                        4 hours                                4 hours                                                 4 hours




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                                                                                                                                                                                CITY DEFS - 006260
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                                                  Notes:




           MONDAY                                 TUESDAY                    WEDNESDAY                                        THURSDAY                                                   FRIDAY
           08/14/17                                08/15/17                     08/16/17                                       08/17/17                                                  08/18/17
                                                                             **Start Time**
0800 to 1200
NATIONAL INCIDENT
                                        0800 to 1200
                                        GANGS AND COLORADO
                                                                        0700 to 1130
                                                                        Body Worn Camera Training
                                                                                                                 0800 to 1000
                                                                                                                 INTERNAL AFFAIRS
                                                                                                                                                                        NO CLASSES
MANAGEMENT AND ICS                      SPRINGS GANGS                   BWC Team/Tech Team                       CSPD-42
BASIC-V-P (Post 4/0)                    BASIC-V-D (Post 2/0)            4.5 hours                                Frabbiele/IA
NIMS700                                 Ingalsbe/Officer Voltz                                                   2 hours
Whitlock/Husted                         4 hours
4 hours                                                                                                          1000 to 1230
                                                                                                                 Admin Time
                                                                                                                 Armor Skins
                                                                                                                 2.5 hours


             Lunch                                  Lunch                           Lunch                                      Lunch
     1200 to 1300 (1 hour) 8                1200 to 1300 (1 hour) 8       1130 to 1200 (30 min.) 9.5                  1230 to 1330 (1 hour) 7. 5                                            (33) (80)
1300 to 1700
RADAR ENFORCEMENT
                                        1300 to 1500
                                        COMMUNITY POLICING/
                                                                        1200 to 1700
                                                                        CONTROLLED
                                                                                                                 1330 to 1630
                                                                                                                 Admin
                                                                                                                                                                        NO CLASSES
                                        COMMUNITY PARTNERSHIP/
CSPD-38                                 HOT TEAM                        SUBSTANCES AND                           Gas Mask Fittings
Whitlock/ Hallas                        BASIC-IV-A (Post 2/0)           MARIJUANA LAWS                           Staff
4 hours                                 Compton/HOT Team                BASIC-II-H (Post 4/0)                    3 hours
                                        2 hours
                                                                        Thompson/R. Crews
                                        1500 to 1700                    5 hours
                                        PROBLEM SOLVING/CRIME
                                        PREVENTION
                                        BASIC-IV-B (Post 2/0)
                                        Compton/Crime Prevention Team
                                        2 hours




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                                                                                                                                                                                    CITY DEFS - 006261
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                                                  Notes:




           MONDAY                                 TUESDAY                  WEDNESDAY                                      THURSDAY                                                   FRIDAY
           08/21/17                                08/22/17                  08/23/17                                      08/24/17                                                  08/25/17

1300 to 1700                            1300 to 1700                  1300 to 1700                            1300 to 1700                                           1000 to 1400
FIREARMS BASIC-IV                       FIREARMS BASIC-VII            FIREARMS BASIC-VII                      FIREARMS BASIC-X                                       FIREARMS BASIC-IV
(Basic Principles of                    (Tactical Situations)         (Tactical Situations)                   (Qualification) (Post 1/0)                             TEST 3/FIREARMS
Handgun) (Post 10/0)                    (Post 24/12)                  (Post 24/8)                             1 hour                                                 (Post Practical)
2 hours                                 Acey/Clippinger               Acey/Clippinger                         FIREARMS BASIC-VII                                     (Post Qual)
(Decisional Shooting)                   4 hours                       4 hours                                 (Tactical Situations)                                  (CSPD Qual)
(Post 6/0)                                                                                                    (Post 20/5)                                            (Post 10/0)
2 hours                                                                                                       Acey/Clippinger                                        Acey/Clippinger
Acey/Clippinger                                                                                               3 hours                                                4 hours (Rev. A)
Start Time is 1300 for
Range (unless noted with
a ***Start Time***)

             Lunch                                   Lunch                        Lunch                                      Lunch                                                 Lunch
    1700 to 1800 (1 hour) 8                 1700 to 1800 (1 hour) 8      1700 to 1800 (1 hour) 8                    1700 to 1800 (1 hour) 8                              1400 to 1500 (1 hour) 8
                                                                                                                                                                                  (40)(80)
1800 to 2200                            1800 to 2200                  1800 to 2200                            1800 to 2200                                           1500 to 1800
FIREARMS BASIC-VII                      FIREARMS BASIC-VIII           FIREARMS BASIC-VIII                     FIREARMS BASIC-VII                                     FIREARMS BASIC-VII
(Tactical Situations)                   (Dim Light ) (Post 8/4)       (Dim Light ) (Post 8/0)                 (Tactical Situations)                                  (Tactical Situations)
(Post 24/16)                            Acey/Clippinger               Acey/Clippinger                         (Post 24/1)                                            (Post 24/0)
Acey/Clippinger                         4 hours                       4 hours                                 Acey/Clippinger                                        Acey/Clippinger
4 hours                                                                                                       4 hours                                                3 hours (Rev. A)

                                                                                                                                                                     1800 to 1900
                                                                                                                                                                     FIREARMS BASIC-IX
                                                                                                                                                                     (Off Duty/Plain Clothes)
                                                                                                                                                                     (Post 1/0)
                                                                                                                                                                     Acey/Clippinger
                                                                                                                                                                     1 hour (Rev. A)




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                                                                                                                                                                          CITY DEFS - 006262
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                                                  Notes:




         MONDAY                                TUESDAY                      WEDNESDAY                                      THURSDAY                                                   FRIDAY
         08/21/17                               08/22/17                      08/23/17                                      08/24/17                                                  08/25/17

0730 to 1130                        0730 to 1130                    0730 to 1130                              0730 to 1130                                            0730 to 1130
TASER TRAINING                      ARREST CONTROL                  ARREST CONTROL                            ARREST CONTROL                                          ARREST CONTROL
CSPD-41                             (Post 62/13.5)                  (Post 62/5.5)                             (Post 62/0)                                             (Post 62/0)
Van Ooyen/Sgt. David                Van Ooyen                       Drill Training                            Drill Training                                          Van Ooyen
4 hours (8 hours total)             4 hours                         4 hours                                   4 hours                                                 4 hours
                                                                    Van Ooyen                                 Van Ooyen

                                                                    (8 hours total)                           (8 hours total)




           Lunch                                  Lunch                          Lunch                                       Lunch                                                Lunch
   1130 to 1230 (1 hour) 8                1130 to 1230 (1 hour) 8        1130 to 1230 (1 hour) 8                     1130 to 1230 (1 hour) 8                            1130 to 1230 (1 hour) 8 (40)
                                                                                                                                                                                    (80)
1230 to 1630                        1230 to 1630                    1230 to 1630                              1230 to 1630                                            1230 to 1630
TASER TRAINING                      ARREST CONTROL                  ARREST CONTROL                            ARREST CONTROL                                          ARREST CONTROL
CSPD-41                              (Post 62/9.5)                   (Post 62/1.5)                            (Post 62/0)                                             (Post 62/0)
TEST 4(TASER)                       Van Ooyen                       Drill Training                            Drill Training                                          Van Ooyen
(Taser Written)                     4 hours                         4 hours                                   4 hours                                                 4 hours
Drill Training                                                      Van Ooyen                                 Van Ooyen
Van Ooyen/Sgt. David
4 hours total (8 hours total)                                       (8 hours total)                           (8 hours total)




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                                                                                                                                                                                   CITY DEFS - 006263
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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                       THURSDAY                                                   FRIDAY
           08/21/17                                08/22/17                     08/23/17                                       08/24/17                                                  08/25/17


0700 to 1100                            1130 to 1600                   1130 to 1600                              0830 to 1100                                            0800 to 1130
LAW ENFORCEMENT                         LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT DRIVING-X
                                                                                                                                                                         (Post 32/0)
DRIVING-X (Post 32/28)                  DRIVING-X (Post 32/17)         DRIVING-X (Post 32/7)                     DRIVING-X (Post 32/0)                                   PPIR
PPIR                                    PPIR                           PPIR                                      PPIR                                                    Thompson
Thompson                                Thompson                       Thompson                                  Thompson                                                1.5 hours (Rev. B)
4 hours                                 4.5 hours                      4.5 hours                                 2.5 hours
                                                                                                                                                                         TRAFFIC DIRECTION
                                                                                                                                                                         BASIC-VI-B (Post 2/0)
**Start Time is varied                                                                                                                                                   PPIR
please check schedule                                                                                                                                                    Thompson /Blackburn
                                                                                                                                                                         2 hours (Rev. B)
daily***
                                                                                                                                                                         3.5 hours (Rev. B)

             Lunch                                   Lunch                          Lunch                                       Lunch                                                Lunch
   1100 to 1200 (1 hour) 10.5               1600 to 1700 (1 hour) 10       1600 to 1700 (1 hour) 10                     1100 to 1200 (1 hour) 8                           1130 to 1230 (1 hour) 8.5 (47)

1200 to 1630                            1700 to 2230                   1700 to 2230                              1200 to 1730                                            1230 to 1730
LAW ENFORCEMENT DRIVING-X
                                        LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT
(Post 32/23.5)
PPIR                                    DRIVING-X (Post 32/11.5)       DRIVING-X (Post 32/1.5)                   DRIVING-X (Post 32/0)                                   DRIVING-X
Thompson                                PPIR                           PPIR                                      PPIR                                                     (POST 32/0)
4.5 hours                               Thompson                       Thompson                                  Thompson                                                PPIR
                                        5.5 hours                      5.5 hours                                 5.5 (8 hours total) (Rev. B)                            Thompson
1630 to 1730 Lunch 1 hour               (10 hours total)               (10 hours total)                                                                                  5 hours
1730 to 1930                                                                                                                                                             (5 hours total) (Rev. B)
LAW ENFORCEMENT DRIVING-X
(Post 32/21.5)
PPIR
Thompson
2 hours
(Total 10.5 hours)




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                                                                                                                                                                                    CITY DEFS - 006264
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                                                  Notes:




           MONDAY                                 TUESDAY                     WEDNESDAY                                        THURSDAY                                                   FRIDAY
           08/28/17                                08/29/17                     08/30/17                                        08/31/17                                                  09/01/17

0730 to 1130                            0730 to 1130                    0730 to 1130                              0730 to 1130                                            0730 to 1130
FIREARMS BASIC                          FIREARMS BASIC-IV               FIREARMS BASIC-IV                         FIREARMS BASIC-IV                                       FIREARMS BASIC-IV
(Firearms Safety/Decisional)            (Basic Principles of Handgun)   (Basic Principles of Handgun)             (Basic Principles of Handgun)                           (Basic Principles of Handgun)
BASIC-I (Post 4/0)                      (Post 10/6)                     (Post 10/0)                               (Post 10/0)                                             (Post 10/0)
Acey/Clippinger                         Acey/Clippinger                 Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 4 hours                         4 hours                                   4 hours                                                 4 hours




              Lunch                                  Lunch                          Lunch                                        Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                1130 to 1230 (1 hour) 8        1130 to 1230 (1 hour) 8                      1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)

1230 to1630                             1230 to1630                     1230 to1630                               1230 to1630                                             1230 to1630
FIREARMS BASIC-II                       FIREARMS BASIC-IV               FIREARMS BASIC-V                          FIREARMS BASIC-VI                                       FIREARMS BASIC-VI
(Equipment Selection/                   FIREARMS BASIC-III              (Weapon Management)                       (Decisional Shooting)                                   (Tactical Situations/ Shotgun)
Nomenclature) (Post 4/0)                (Basic Principles of Handgun)   (Post 4/0)                                (Post 6/2)                                              (Post 24/20)
Acey/Clippinger                         (Post 10/2)                     Acey/Clippinger                           Acey/Clippinger                                         Acey/Clippinger
4 hours                                 (Weapon Maintenance)            4 hours                                   4 hours                                                 4 hours
                                        (Post 2/0)
                                        Acey/Clippinger
                                        4 hours




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                                                                                                                                                                                     CITY DEFS - 006265
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                                                  Notes:




           MONDAY                                 TUESDAY                 WEDNESDAY                                      THURSDAY                                                   FRIDAY
           08/28/17                                08/29/17                 08/30/17                                      08/31/17                                                  09/01/17

0730 to 1130                            0730 to 1130                  0730 to 1130                           0730 to 1130                                           0730 to 1130
ARREST CONTROL                          ARREST CONTROL                ARREST CONTROL                         ARREST CONTROL                                         ARREST CONTROL
(Post 62/53.5)                          (Post 62/45.5)                (Post 62/37.5)                         (Post 62/29.5)                                         (Post 62/21.5)
Van Ooyen                               Van Ooyen                     Van Ooyen                              Van Ooyen                                              Van Ooyen
4 hours                                 4 hours                       4 hours                                4 hours                                                4 hours




             Lunch                                  Lunch                       Lunch                                      Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                1130 to 1230 (1 hour) 8     1130 to 1230 (1 hour) 8                    1130 to 1230 (1 hour) 8                             1130 to 1230 (1 hour) 8 (40)


1230 to 1630                            1230 to 1630                  1230 to 1630                           1230 to 1630                                           1230 to 1630
ARREST CONTROL                          ARREST CONTROL                ARREST CONTROL                         ARREST CONTROL                                         ARREST CONTROL
(Post 62/49.5)                          (Post 62/41.5)                (Post 62/33.5)                         (Post 62/25.5)                                         (Post 62/17.5)
Van Ooyen                               Van Ooyen                     Van Ooyen                              Van Ooyen                                              Van Ooyen
4 hours                                 4 hours                       4 hours                                4 hours                                                4 hours




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                                                                                                                                                                                 CITY DEFS - 006266
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                                                  Notes:




           MONDAY                                  TUESDAY                    WEDNESDAY                                        THURSDAY                                                    FRIDAY
           08/28/17                                 08/29/17                     08/30/17                                       08/31/17                                                   09/01/17
                                                                              **Start Time**
0800 to 1200
NATIONAL INCIDENT
                                        0800 to 1200
                                        GANGS AND COLORADO
                                                                        0700 to 1130
                                                                        Body Worn Camera Training
                                                                                                                  0800 to 1000
                                                                                                                  INTERNAL AFFAIRS
                                                                                                                                                                          NO CLASSES
MANAGEMENT AND ICS                      SPRINGS GANGS                   BWC Team/Tech Team                        CSPD-42
BASIC-V-P (Post 4/0)                    BASIC-V-D (Post 2/0)            4.5 hours                                 Frabbiele/IA
NIMS700                                 Ingalsbe/Officer Voltz                                                    2 hours
Whitlock/Husted                         4 hours
4 hours                                                                                                           1000 to 1230
                                                                                                                  Admin Time
                                                                                                                  Armor Skins
                                                                                                                  2.5 hours

             Lunch                                   Lunch                         Lunch                                        Lunch                                                         (33) (80)
     1200 to 1300 (1 hour) 8                 1200 to 1300 (1 hour) 8      1130 to 1200 (30 min.) 9.5                   1230 to 1330 (1 hour) 7. 5
1300 to 1700
RADAR ENFORCEMENT
                                        1300 to 1500
                                        COMMUNITY POLICING/
                                                                        1200 to 1700
                                                                        CONTROLLED SUBSTANCES
                                                                                                                  1330 to 1630
                                                                                                                  Admin
                                                                                                                                                                           NO CLASSES
                                        COMMUNITY PARTNERSHIP/
CSPD-38                                 HOT TEAM                        AND MARIJUANA LAWS                        Gas Mask Fittings
Whitlock/ Hallas                        BASIC-IV-A (Post 2/0)           BASIC-II-H (Post 4/0)                     Staff
4 hours                                 Compton/HOT Team                Thompson/R. Crews                         3 hours
                                        2 hours
                                                                        5 hours
                                        1500 to 1700
                                        PROBLEM SOLVING/CRIME
                                        PREVENTION
                                        BASIC-IV-B (Post 2/0)
                                        Compton/Crime Prevention Team
                                        2 hours




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                                                                                                                                                                                   CITY DEFS - 006267
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                                                  Notes:




           MONDAY                                  TUESDAY                   WEDNESDAY                                       THURSDAY                                                    FRIDAY
           09/04/17                                 09/05/17                   09/06/17                                       09/07/17                                                   09/08/17
1300 to 1700                            1300 to 1700                   1300 to 1700                             1300 to 1700                                            1000 to 1400
FIREARMS BASIC-IV                       FIREARMS BASIC-VII             FIREARMS BASIC-VII                       FIREARMS BASIC-X                                        FIREARMS BASIC-IV
(Basic Principles of Handgun)           (Tactical Situations)          (Tactical Situations)                    (Qualification) (Post 1/0)                              TEST 3/FIREARMS
(Post 10/0)                             (Post 24/12)                   (Post 24/8)                              1 hour                                                  (Post Practical)
2 hours                                 Acey/Clippinger                Acey/Clippinger                          FIREARMS BASIC-VII                                      (Post Qual)
(Decisional Shooting)                   4 hours                        4 hours                                  (Tactical Situations)                                   (CSPD Qual)
(Post 6/0)                                                                                                      (Post 20/5)                                             (Post 10/0)
2 hours                                                                                                         Acey/Clippinger                                         Acey/Clippinger
Acey/Clippinger                                                                                                 3 hours                                                 4 hours (Rev. A)

Start Time is 1300 for Range
(unless noted with a ***Start
Time***)

              Lunch                                   Lunch                        Lunch                                        Lunch                                                 Lunch
     1700 to 1800 (1 hour) 8                 1700 to 1800 (1 hour) 8      1700 to 1800 (1 hour) 8                      1700 to 1800 (1 hour) 8                              1400 to 1500 (1 hour) 8
                                                                                                                                                                                     (40)(80)
1800 to 2200                            1800 to 2200                   1800 to 2200                             1800 to 2200                                            1500 to 1800
FIREARMS BASIC-VII                      FIREARMS BASIC-VIII            FIREARMS BASIC-VIII                      FIREARMS BASIC-VII                                      FIREARMS BASIC-VII
(Tactical Situations)                   (Dim Light ) (Post 8/4)        (Dim Light ) (Post 8/0)                  (Tactical Situations)                                   (Tactical Situations)
(Post 24/16)                            Acey/Clippinger                Acey/Clippinger                          (Post 24/1)                                             (Post 24/0)
Acey/Clippinger                         4 hours                        4 hours                                  Acey/Clippinger                                         Acey/Clippinger
4 hours                                                                                                         4 hours                                                 3 hours (Rev. A)

                                                                                                                                                                        1800 to 1900
                                                                                                                                                                        FIREARMS BASIC-IX
                                                                                                                                                                        (Off Duty/Plain Clothes)
                                                                                                                                                                        (Post 1/0)
                                                                                                                                                                        Acey/Clippinger
                                                                                                                                                                        1 hour (Rev. A)




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                                                                                                                                                                                  CITY DEFS - 006268
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                                                  Notes:




           MONDAY                                  TUESDAY                    WEDNESDAY                                        THURSDAY                                                    FRIDAY
           09/04/17                                 09/05/17                    09/06/17                                        09/07/17                                                   09/08/17

0730 to 1130                            0730 to 1130                   0730 to 1130                               0730 to 1130                                            0730 to 1130
TASER TRAINING                          ARREST CONTROL                 ARREST CONTROL                             ARREST CONTROL                                          ARREST CONTROL
CSPD-41                                 (Post 62/13.5)                 (Post 62/5.5)                              (Post 62/0)                                             (Post 62/0)
Van Ooyen/Sgt. David                    Van Ooyen                      Drill Training                             Drill Training                                          Van Ooyen
4 hours (8 hours total)                 4 hours                        4 hours                                    4 hours                                                 4 hours
                                                                       Van Ooyen                                  Van Ooyen

                                                                       (8 hours total)                            (8 hours total)




             Lunch                                   Lunch                          Lunch                                        Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                 1130 to 1230 (1 hour) 8        1130 to 1230 (1 hour) 8                      1130 to 1230 (1 hour) 8                            1130 to 1230 (1 hour) 8 (40)
                                                                                                                                                                                        (80)
1230 to 1630                            1230 to 1630                   1230 to 1630                               1230 to 1630                                            1230 to 1630
TASER TRAINING                          ARREST CONTROL                 ARREST CONTROL                             ARREST CONTROL                                          ARREST CONTROL
CSPD-41                                  (Post 62/9.5)                  (Post 62/1.5)                             (Post 62/0)                                             (Post 62/0)
TEST 4 (TASER)                          Van Ooyen                      Drill Training                             Drill Training                                          Van Ooyen
(Taser Written)                         4 hours                        4 hours                                    4 hours                                                 4 hours
Drill Training                                                         Van Ooyen                                  Van Ooyen
Van Ooyen/Sgt. David
4 hours total (8 hours total)                                          (8 hours total)                            (8 hours total)




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                                                                                                                                                                                  CITY DEFS - 006269
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                                                  Notes:




          MONDAY                                TUESDAY                      WEDNESDAY                                     THURSDAY                                                 FRIDAY
      09/04/17 (Rev. B)                      09/05/17 (Rev. B)              09/06/17 (Rev. B)                            09/07/17 (Rev. B)                                      09/08/17 (Rev. B)
0700 to 1100                            1130 to 1600                   1130 to 1600                              0830 to 1100                                            0800 to 1130
LAW ENFORCEMENT                         LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT DRIVING-X
                                                                                                                                                                         (Post 32/0)
DRIVING-X (Post 32/28)                  DRIVING-X (Post 32/17)         DRIVING-X (Post 32/7)                     DRIVING-X (Post 32/0)                                   PPIR
PPIR                                    PPIR                           PPIR                                      PPIR                                                    Thompson
Thompson                                Thompson                       Thompson                                  Thompson                                                1.5 hours (Rev. B)
4 hours                                 4.5 hours                      4.5 hours                                 2.5 hours
                                                                                                                                                                         TRAFFIC DIRECTION
                                                                                                                                                                         BASIC-VI-B (Post 2/0)
**Start Time is varied                                                                                                                                                   PPIR
please check schedule                                                                                                                                                    Thompson /Blackburn
                                                                                                                                                                         2 hours (Rev. B)
daily***
                                                                                                                                                                         3.5 hours (Rev. B)

             Lunch                                   Lunch                          Lunch                                       Lunch                                                Lunch
   1100 to 1200 (1 hour) 10.5               1600 to 1700 (1 hour) 10       1600 to 1700 (1 hour) 10                     1100 to 1200 (1 hour) 8                           1130 to 1230 (1 hour) 8.5 (47)

1200 to 1630                            1700 to 2230                   1700 to 2230                              1200 to 1730                                            1230 to 1730
LAW ENFORCEMENT DRIVING-X
                                        LAW ENFORCEMENT                LAW ENFORCEMENT                           LAW ENFORCEMENT                                         LAW ENFORCEMENT
(Post 32/23.5)
PPIR                                    DRIVING-X (Post 32/11.5)       DRIVING-X (Post 32/1.5)                   DRIVING-X (Post 32/0)                                   DRIVING-X
Thompson                                PPIR                           PPIR                                      PPIR                                                     (POST 32/0)
4.5 hours                               Thompson                       Thompson                                  Thompson                                                PPIR
                                        5.5 hours                      5.5 hours                                 5.5 (8 hours total) (Rev. B)                            Thompson
1630 to 1730 Lunch 1 hour               (10 hours total)               (10 hours total)                                                                                  hours
1730 to 1930                                                                                                                                                             (5 hours total) (Rev. B)
LAW ENFORCEMENT DRIVING-X
(Post 32/21.5)
PPIR
Thompson
2 hours
(Total 10.5 hours)




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                                                                                                                                                                                   CITY DEFS - 006270
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           MONDAY                                TUESDAY                      WEDNESDAY                                        THURSDAY                                                     FRIDAY
           09/11/17                               09/12/17                      09/13/17                                         09/14/17                                                   09/15/17
                                               **Start Time**                                                                 **Start Time**
0800 to 1200                            0700 to 1200                    0800 to 1100                                0700 to 1200                                            0800 to 1000
STRESS AND TRAUMA                       CRS BASIC-II-D (Post 32/27)     INTERVIEW CLASS-                            CRS BASIC-II-D (Post 32/22)                             SELF WORK TIME
BASIC-IX-C (Post 4/0)                   (General Basic)                 BASIC                                       (Property Crimes)                                       2 hours
Ingalsbe/Dr. Tartaglini                 Whitlock                        BASIC-II-B                                  Whitlock
                                        5 hours (Rev. C)                (Post 2/0)                                  5 hours (Rev. C)                                        1000 to 1100
4 hours                                                                 Compton
                                                                        3 hours
                                                                                                                                                                            TEST 5
                                                                                                                                                                            CSPD-24
                                                                                                                                                                            Staff 1 hour




             Lunch                                   Lunch                          Lunch                                          Lunch                                                   Lunch
     1200 to 1300 (1 hour) 8                1200 to 1300 (1 hour) 8.5      1100 to 1200 (1 hour) 6.5                       1200 to 1300 (1 hour) 9                                1100 to 1200 (1 hour) 8
                                                                                                                                                                                            (40)
1300 to 1700                            1300 to 1500                    1200 to 1400                                1300 to 1400                                            1200 to 1700
                                                                        REPORT WRITING                              MAJOR CASE CONSIDERATIONS
PATROL OBSERVATIONS &                   Summons and Complaint-                                                                                                              CRS
                                                                        BASIC-VIII-A (Post 24/14)                   (Robbery)
PERCEPTIONS (Post 4/0)                  Non-Traffic City Code                                                                                                               BASIC-II-D (Post 32/17)
                                                                                                                    BASIC-VII-G (Post 14/13)
BASIC-V-A                               CSPD-7                          Scenario/Reports                            Whitlock/ Sgt.Havener                                   (Persons)
Ingalsbe                                Farmer                          Thompson                                    1 hour                                                  Whitlock
                                        2 hours (Rev. C)                2 hours
4 hours                                                                                                                                                                     5 hours
                                                                                                                    1400 to 1700
                                        1500 to 1630                                                                MAJOR CASE CONSIDERATIONS
                                                                        1400 to 1530                                (Burglary/MVT/BMV) BASIC-VII-G
                                        WELLNESS LAB                    WELLNESS LAB                                 (Post 14/10)
                                        WELLNESS IX-B                   WELLNESS IX-B                               Whitlock/ Sgt. J. Frabbiele/Sgt. O. Scott
                                        (Post 24/12.5)                  (Post 24/11)                                3 hours
                                        Van Ooyen 1.5 hours             Van Ooyen 1.5 hours




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                                                   Notes:




           MONDAY                                  TUESDAY                   WEDNESDAY                                      THURSDAY                                                   FRIDAY
           09/18/17                                 09/19/17                   09/20/17                                      09/21/17                                                  09/22/17
                                                 **Start Time**
0800 to 1200                            0700 to 1200                    0800 to 1200                           0700 to 1200                                            0800 to 1000
BASIC-VIII-A (Post 24/10 )              CRS                            DOMESTIC VIOLENCE                       CRS BASIC-II-D (Post 32/7)                              SELF WORK TIME
(Prep of Legal Documents/ PC            BASIC-II-D (Post 32/12)        BASIC-III-B (Post 8/4)                  (Public Peace/Miscellaneous                             2 hours (Rev. C)
Affidavits)                             (Family Relations/Morals)      Whitlock/ DVU Staff                     Crimes)
Inglasbe
4 hours
                                        Whitlock                       4 hours (8 hours total)                 Whitlock (Rev A)                                        1000 to 1100
                                        5 hours                                                                5 hours                                                 TEST 7
                                                                                                                                                                       CSPD-24
                                                                                                                                                                       Staff 1 hour (Rev. C)




             Lunch                                   Lunch                        Lunch                                      Lunch                                                  Lunch
    1200 to 1300 (1 hour) 8.5                1200 to 1300 (1 hour) 9      1200 to 1300 (1 hour) 8                   1200 to 1300 (1 hour) 7.5                              1100 to 1200 (1 hour) 7
                                                                                                                                                                                   (40)(80)
1300 to 1500                            1300 to 1400                   1300 to 1700                            1300 to 1530                                            1200 to 1600
ARREST, SEARCH &                        ARREST, SEARCH &                                                       ADMIN
                                                                       DOMESTIC VIOLENCE                                                                               PRELIMINARY
SEIZURE                                 SEIZURE Q&A                                                            Timora
BASIC-II-A (Post 12/6)                  BASIC-II-A (Post 12/2.5)       BASIC-III-B (Post 8/0)                                                                          INVESTIGATIONS
                                                                       Whitlock/ DVU Staff                     2.5 hours                                               BASIC-VII-A (Post 4/0)
Ingalsbe/DA’s Office                    Ingalsbe
                                                                                                               (Rev. C)
2 hours                                 1 hour (Rev. C)                4 hours (8 hours total)                                                                         Thompson
                                                                                                                                                                       4 hours (Rev. C)
1500 to 1730
                                        1400 to 1600
ARREST, SEARCH &                        SELF WORK TIME
SEIZURE                                 2 hours (Rev. C)
BASIC-II-A (Post 12/3.5)
Ingalsbe/DA’s Office                    1600 to 1700
2.5 hours (Rev. C)                      Use of Force Test / Test 6
                                        Staff
                                        1 hour
                                        (Rev. C)




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           MONDAY                                TUESDAY                        WEDNESDAY                                          THURSDAY                                            FRIDAY
           09/25/17                               09/26/17                         09/27/17                                          09/28/17                                          09/29/17
                                              **Start Time**                    **Start Time**                                    **Start Time**                                ****Start Time/Splits**
  NO CLASSES                            0700 to 1100
                                        MAJOR CASE CONS.
                                                                          0830 to 1230
                                                                          REALITY BASED TRAINING-
                                                                                                                        0830 to 1230
                                                                                                                        REALITY BASED TRAINING-
                                                                                                                                                                               RIDE-ALONG
                                                                                                                                                                               PROGRAM (Group 1)
                                        (Assault/Death Investigations)    ISOLATION DRILLS                              PRACTICAL                                              CSPD-56
                                        BASIC-VII-G (Post 14/6)           Ingalsbe                                      Ingalsbe                                               Sgt. Frabbiele/Patrol PTO’s
                                        Whitlock/Graham/ Schiffelbein
                                        4 hours (Rev A)
                                                                          4 hours                                       4 hours                                                10 hours
                                                                                                                                                                               Specific Times TBD
                                                                                                                                                                                (10 hours total)

                                                                                                                                                                               (Group 2)
                                                                                                                                                                               Vacation 10 hours
              Lunch                                  Lunch                             Lunch                                          Lunch                                                          10(39)
                                              1100 to 1130 (30 min.) 10      1230 to 1300 (30 min.) 9.5                    1230 to 1300 (30 min.) 9.5
                                        1130 to 1330                      1300 to 1830                                  1300 to 1830                                           RIDE-ALONG
                                        INTERROGATIONS, CONFESSIONS,
                                                                          REALITY BASED TRAINING-                       REALITY BASED TRAINING-                                PROGRAM
                                        AND TECHNIQUES
                                        BASIC-II-B (Post 2/0)             ISOLATION DRILLS                              PRACTICAL                                              (Group 1)
                                        Whitlock/Graham/Schiffelbein      Ingalsbe                                      Ingalsbe                                               CSPD-56
                                        2 hours (Rev A”                   3.5 hours                                     5.5 hours                                              Sgt. Frabbiele/Patrol PTO’s
                                                                                                                        (9.5) hours total)                                     10 hours
                                        1330 to 1730                      FIREARMS BASIC-VI                                                                                    Specific Times TBD
                                        IDENTIFICATION OF                 (Decisional Shooting)
                                                                          (Post 6/0)
                                        SUSPECTS (Post 4/0)
                                        BASIC-VII-E (Rev A)               Acey/Clippinger                                                                                      (Group 2)
                                        Thompson
                                                                          2 hours
                                                                          (9.5 hours total)                                                                                    Vacation 10 hours
                                        4 hours




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           MONDAY                              TUESDAY                       WEDNESDAY                                       THURSDAY                                          FRIDAY
           10/02/17                             10/03/17                       10/04/17                                       10/05/17                                         10/06/17
                                           **Start Time**                                                                                                               ****Start Time/Splits**
0800 to 1000                            0700 to 1200                    0800 to 1300                            0800 to 1000                                            RIDE-ALONG
REALITY BASED TRAINING                  CRIME SCENE DOCUMENTATION       CRIME SCENE DOCUMENTATION               SELF WORK TIME                                          PROGRAM (Group 2)
 BASIC-VIII-A (Post 24/6)               BASIC-VII-C (Sketching)         (Photography)                           2 hours                                                 CSPD-56
Thompson/Ingalsbe                       (Post 12/7)                      (Post 12/2)                                                                                    Sgt. Frabbiele/Patrol PTO’s
2 hours                                 Whitlock/ Weber/CSI Staff       BASIC-VII-C                             1000 to 1100                                            10 hours
(scenario week 12) (Rev. A)             5 hours (Rev. C)                Whitlock/ Weber/CSI Staff               TEST 8                                                  Specific Times TBD
                                                                        5 hours    (Rev. C)                     CSPD-24
1000 to 1200                                                                                                    Staff 1 hour
IDENTIFICATION & COLLECTION OF
EVIDENCE                                                                                                                                                                (Group 1)
BASIC-VII-D (Post 10/6)
Whitlock/ Weber/CSI Staff                                                                                                                                               Vacation 10 hours
2 hours (6 hours total)


             Lunch                                   Lunch                          Lunch                                      Lunch                                                       10(41)(80)
     1200 to 1300 (1 hour) 8                  1200 to 1300 (1 hour) 9      1300 to 1400 (1 hour) 8                     1100 to 1200 (1 hour) 6
1300 to 1700                            1300 to 1700                    1400 to 1700                            1200 to 1330                                            RIDE-ALONG
IDENTIFICATION & COLLECTION OF          IDENTIFICATION & COLLECTION     IDENTIFICATION & COLLECTION                                                                      PROGRAM
                                                                                                                ADMIN
EVIDENCE                                OF EVIDENCE                     OF EVIDENCE                                                                                     (Group 2)
BASIC-VII-D (Post 10/4)                 (Fingerprints/Footwear)         BASIC-VII-D (Post 10/0)                 Timora                                                  CSPD-56
Whitlock/ Weber/CSI Staff               BASIC-VII-D (Post 10/0)         Evidence on Q/                          1.5 hours (Rev. D)                                      Sgt. Frabbiele/Patrol PTO’s
4 hours (6 hours total) (Rev. A)        Whitlock/ Weber/CSI Staff       Whitlock/Underwood/Evidence                                                                     10 hours
                                        4 hours                         3 hours                                                                                         Specific Times TBD
                                                                                                                1330 to 1500
                                                                                                                WELLNESS LAB
                                                                                                                WELLNESS IX-B                                           (Group 1)
                                                                                                                (Post 24/9.5)
                                                                                                                Van Ooyen                                               Vacation 10 hours
                                                                                                                1.5 hours (Rev. D)




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           MONDAY                                 TUESDAY                  WEDNESDAY                                       THURSDAY                                                     FRIDAY
           10/09/17                                10/10/17                   10/11/17                                       10/12/17                                                   10/13/17
                                                                           **Start Time**                                 **Start Time**
0800 to 1200                            0700 to 1200                  0830 to 1230                              0830 to 1230                                            0700 to 1000
                                                                                                                                                                        REALITY BASED TRAINING
HANDLING IN PROGRESS                    CRS                           REALITY BASED TRAINING-                   REALITY BASED TRAINING-                                  BASIC-VIII-A (Post 24/14)
CALLS (Lecture)                         Basic-II-D (Post 32/2)        ISOLATION DRILLS                          PRACTICAL                                               Thompson/Ingalsbe
BASIC-V-G (Post 8/4)                    (Gov Ops)                     Ingalsbe                                  Ingalsbe                                                3 hours
                                                                                                                                                                        (scenario week 14)
Compton                                 Whitlock
                                                                      VERBAL COMMUNICATION                      ARREST, SEARCH &                                        1000 to 1200
4 hours                                 5 hours (Rev C)
                                                                      BASIC-VIII-B (Post 8/0)                   SEIZURE                                                 CRIME SCENE
                                                                      Ingalsbe                                  BASIC-II-A (Post 12/0)
                                                                                                                                                                        DOCUMENTATION
                                                                      2 hours                                   Ingalsbe
                                                                                                                4 hours                                                 (Investigative Notes)
                                                                      4 hours                                                                                           BASIC-VII-C (Post 12/0)
                                                                                                                                                                        Thompson
                                                                                                                                                                        2 hours

              Lunch                                  Lunch                        Lunch                                        Lunch                                                 Lunch
     1200 to 1230 (30 min.) 9               1200 to 1300 (1 hour) 8      1230 to 1300 (30 min.) 9                     1230 to 1300 (30 min.) 9                            1200 to 1300 (1 hour) 7 (42)
1230 to 1630                            1300 to 1330                  1300 to 1800                              1300 to 1800                                            1300 to 1500
LAW ENFORCEMENT AND ANTI-               Travel Time                   REALITY BASED TRAINING-                   REALITY BASED TRAINING-                                 ADMIN
BIAS POLICING/COMMUNITY                                                                                                                                                 Timora
                                        .5 hours (Rev. D)             ISOLATION DRILLS                          PRACTICAL                                               2 hours (Rev. D)
LEADERS                                                               Ingalsbe                                  Ingalsbe
BASIC-I-C (Post 8/0)
Ingalsbe/B. Banuelos
                                        1330 to 1530                  5 hours                                   5 hours
4 hours
                                        WELLNESS LAB                  (9 hours total)                           (9 hours total)
                                        WELLNESS IX-B
                                        Cheyenne Canyon Run
1630 to 1730                            (Post 24/7.5)
ADMIN                                   Van Ooyen 2 hours (Rev. D)
Timora
1 hours (Rev. D)
                                        1530 to 1600
                                        Travel Time
                                        .5 hours (Rev.D)




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                                                     Notes:




            MONDAY                                 TUESDAY                         WEDNESDAY                                            THURSDAY                                                   FRIDAY
            10/16/17                                10/17/17                         10/18/17                                            10/19/17                                                  10/20/17
                                                 **Start Time**
0800 to 1200                               1200 to1400                      0730 to 1130 (Group 1)                         0800 to 1200                                            0800 to 1200
REPORT WRITING                             VICTIMS RIGHTS                   1230 to 1630 (Group 2)                         RULES OF EVIDENCE                                       LAW ENFORCEMENT
BASIC-VIII-A (Post 24/10)                  BASIC-III-A (Post 4/2)
(Prep of Legal Documents/ Warrants/Court                                    ARREST CONTROL                                 BASIC-II-C (Post 4/0)                                   ETHICS
                                           Whitlock/Mari Dennis
Orders)                                    /CSPD Victim Advocacy Unit       (Post 62/0)                                    Thompson                                                BASIC-I-C (Post 8/4)
Ingalsbe                                   2 hours (Rev C)                  Van Ooyen                                      4 hours                                                 Thompson/Commander
4 hours
                                           1400 to 1600                     4 hours                                                                                                Whittington/Commander Rigdon
                                           VICTIMS RIGHTS (cont.)                                                                                                                  4 hours (8 hours total)
                                           BASIC-III-A (Post 4/0)
                                           Whitlock
                                           2 hours (Rev C)
                                           1600 to 1700
                                           WELLNESS LAB
                                           WELLNESS IX-B
                                           (Post 24/6.5)
                                           Van Ooyen
                                           1 hour
             Lunch                                     Lunch                            Lunch                                             Lunch                                                   Lunch
    1200 to 1300 (1 hour) 7.5                  1700 to 1800 (1 hour) 7          1130 to 1230 (1 hour) 8                          1200 to 1300 (1 hour)7.5                                1200 to 1300 (1 hour) 8
                                                                                                                                                                                                 (38)(80)
1300 to 1500                               ***1800 to 2000***               0730 to 1130 (Group 2)                         1300 to 1400                                            1300 to 1700
REPORT WRITING                                                              1230 to 1630 (Group 1)                         Team Meetings
                                           ADMIN                                                                                                                                   LAW ENFORCEMENT
BASIC-VIII-A (Post 24/8)                                                                                                   1 hour
(Prep of Legal Documents/ Warrants/Court   Family Academy, Session #2       Self-Work Time                                                                                         ETHICS
Orders)                                    Officer Involved Shootings and   2.5 hours                                                                                              BASIC-I-C (Post 8/0)
                                                                                                                           1400 to 1500
Ingalsbe                                   Critical Incidents                                                              Implicit Bias
                                                                                                                                                                                   Thompson/Commander
2 hours (6 hours total)                                                     MIDTERM TEST- TEST 9
                                           Staff                                                                           CSPD-62                                                 Whittington/Commander Rigdon
                                                                            Thompson
1500 to 1630                               2 hours                          1 hour                                         Farmer 1 hour                                           4 hours
ADMIN
Timora                                                                      Admin/Phone set up                             1500 to 1630
1.5 hour                                                                    Thompson                                       WELLNESS LAB
                                                                            .5 hour                                        WELLNESS IX-B
                                                                                                                           (Post 24/5)
                                                                                                                           Van Ooyen
                                                                                                                           1.5 hours



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         MONDAY                                  TUESDAY                     WEDNESDAY                                      THURSDAY                                                  FRIDAY
          10/23/17                                10/24 /17                     10/25/17                                      10/26/17                                                10/27/17
       **Start Time**                          **Start Time**                **Start Time**                                **Start Time**                                          **Start Time**
0730 to 1230 (Group 1)                  0730 to 1130 (Group 1)         1330 to 1830 (Group 1)                    1330 to 1830 (Group 1)                                 0830 to 1100
VEHICLE CONTACTS                        TRAFFIC CODE                   REALITY BASED TRAINING-                   REALITY BASED TRAINING-                                INTERACTION WITH
                                                                                                                 PRACTICAL
BASIC-V-E (Post 16/11)                  BASIC-VI-A (Post 8/4)          ISOLATION DRILLS                                                                                 SPECIAL POPULATIONS
                                                                                                                 VEHICLE CONTACTS
Compton                                 Thompson / Sunday              VEHICLE CONTACTS                                                                                 BASIC-III-D (Post 2/0)
                                                                                                                 BASIC-V-E (Post 16/0)
                                                                       BASIC-V-E (Post 16/2)                                                                            Thompson/CRT
5 hours                                 4 hours                        Compton
                                                                                                                 Compton
                                                                                                                 5 hours                                                2.5 hours
                                                                       5 hours                                   Ingalsbe
                                                                       Ingalsbe
                                                                                                                 (10 hours total)                                       1100 to 1130
                                                                       ( 10 hours total)                                                                                ADMIN
                                                                                                                                                                        Timora
                                                                                                                                                                        30 min. (Rev. E)

             Lunch                                   Lunch                         Lunch                                       Lunch                                                 Lunch
     1230 to 1330(1 hour) 9                  1130 to 1230 (1 hour) 9      1830 to 1900 (30 min.) 10                   1830 to 1900 (30 min.) 10                            1130 to 1200 (30 min.) (5.5)
                                                                                                                                                                                      (43.5)
1330 to 1730 (Group 1)                  1230 to 1630 (Group 1)         1900 to 0000 (Group 1)                    1900 to 0000 (Group 1)                                 1200 to 1400
VEHICLE CONTACTS                        TRAFFIC CODE                   REALITY BASED TRAINING-                   REALITY BASED TRAINING-                                REPORT WRITING
BASIC-V-E (Post 16/7)                   BASIC-VI-A (Post 8/0)          ISOLATION DRILLS                          PRACTICAL                                              BASIC-VIII-A (Post 24/6)
Compton                                 Thompson /Sunday               Ingalsbe                                  Ingalsbe                                               Scenario/Reports
                                                                       5 hours                                                                                          Thompson
4 hours                                 4 hours                         (10 hours total)                         HANDLING IN PROGRESS                                   2 hours
                                                                                                                 CALLS (Practical)
                                        1630 to 1730                                                             BASIC-V-G (Post 8/0)
                                        WELLNESS LAB                                                             Compton
                                                                                                                                                                        1400 to 1430
                                        WELLNESS IX-B                                                            5 hours                                                ADMIN
                                        (Post 24/4)                                                                                                                     Sgt. Frabbiele
                                        Van Ooyen                                                                 (10 hours total)                                      30 min.
                                        1 hour                                                                                                                          (Rev. E)




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         MONDAY                                  TUESDAY                   WEDNESDAY                                  THURSDAY                                                  FRIDAY
          10/23/17                                10/24 /17                   10/25/17                                  10/26/17                                                10/27/17
       **Start Time**                          **Start Time**              **Start Time**                            **Start Time**                                          **Start Time**
0730 to 1130 (Group 2)                  0730 to 1230 (Group 2)        0730 to 1130                          (Group 2)                                             0830 to 1100
                                                                      LAW ENFORCEMENT ROLE IN                                                                     INTERACTION WITH
TRAFFIC CODE
BASIC-VI-A (Post 8/4)
                                        VEHICLE CONTACTS
                                        BASIC-V-E (Post 16/11)        TERRORISM (Group 2)                  Vacation 4.5 hours                                     SPECIAL POPULATIONS
                                                                      BASIC-V-O (Post 4/0)                 (Rev. D)
Thompson / Sunday                       Compton                                                                                                                   BASIC-III-D (Post 2/0)
                                                                      Ingalsbe/STIC                                                                               Thompson/CRT
4 hours                                 5 hours                       4 hours (Rev. A)                                                                            2.5 hours

                                                                                                                                                                  1100 to 1130
                                                                                                                                                                  ADMIN
                                                                                                                                                                  Timora
                                                                                                                                                                  30 min. (Rev. E)

             Lunch                                   Lunch                       9                                                8.5                                           Lunch
     1130 to 1230 (1 hour) 9                 1230 to 1330(1 hour) 9                                                                                                   1130 to 1200(30 min.) (5.5)
                                                                                                                                                                                 (41)
1230 to 1630 (Group 2)
TRAFFIC CODE
                                        1330 to 1730 (Group 2)
                                        VEHICLE CONTACTS
                                                                      Vacation 5 hours                     1300 to 1700 (Group 2)
                                                                                                           RISK ASSESSMENT
                                                                                                                                                                  1200 to 1400
                                                                                                                                                                  REPORT WRITING
BASIC-VI-A (Post 8/0)                   BASIC-V-E (Post 16/7)         (Rev. C)                             RESPONSE                                               BASIC-VIII-A (Post 24/6)
Thompson /Sunday                        Compton                                                            BASIC-III-E (Post 4/0)                                 Scenario/Reports
4 hours                                 4 hours                                                            Ingalsbe/Dr. Tartaglini                                Thompson
                                                                                                           4 hours (Rev. C)                                       2 hours
1630 to 1730
WELLNESS LAB                                                                                                                                                      1400 to 1430
WELLNESS IX-B                                                                                                                                                     ADMIN
(Post 24/4)                                                                                                                                                       Sgt. Frabbiele
Van Ooyen                                                                                                                                                         30 min.
1 hour                                                                                                                                                            (Rev. E)




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                                                                                                                                                                              CITY DEFS - 006278
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                                                  Notes:




           MONDAY                                 TUESDAY                   WEDNESDAY                                       THURSDAY                                                 FRIDAY
           10/30/17                                10/31/17                    11/01/17                                       11/02/17                                               11/03/17
                                                                            **Start Time**                                 **Start Time**                                         **Start Time**
0800 to 1000                            0800 to 1100                   0730 to 1130 (Group 1)                     (Group 1)                                             1000 to 1200
IDENTITY THEFT                                                         LAW ENFORCEMENT ROLE IN                                                                          REPORT WRITING
BASIC-II-J (Post 2/0)
                                        Interaction with Special
                                        Populations Basic III-D        TERRORISM                                 Vacation 9.5 hours                                     BASIC-VIII-A (Post 24/4)
                                                                                                                                                                        2 hours
Whitlock/Financial Crimes Unit          (POST 2/2)                     BASIC-V-O (Post 4/0)                      (Rev. D)
                                                                                                                                                                        (Scenario week 17)
2 hours (Rev B)                                                        Inglasbe/STIC
                                        Thompson/Sgt. D. Thompson      4 hours (Rev. A)
1000 to 1100                             3 hours (Rev B)
MAJOR CASE CONSIDERATIONS
(Fraud/White Collar Crime)
BASIC-VII-G (Post 14/4)
Whitlock/Financial Crimes Unit
1 hour (Rev B)

             Lunch                                   Lunch                         Lunch                                                9.5                                            Lunch
     1100 to 1200 (1 hour) 7                1100 to 1130 (30 min.) 5       1130 to 1230 (1 hour) 8                                                                           1200 to 1230 (30 min.) (7)
                                                                                                                                                                                     (36.5)(80)
1200 to 1600                            1130 to 1230                   1230 to 1630 (Group 1)                                                                           1230 to 1430
ID Theft/Fraud Cont.                    INTERACTION WITH SPECIAL                                                                                                        SELF WORK TIME
                                                                       RISK ASSESSMENT
(Fraud/White Collar Crime)              POPULATIONS                                                                                                                     2 hours
                                                                       RESPONSE
CRS BASIC-II-D (Post 32/0)              BASIC-III-D (Post 2/0)         BASIC-III-E (Post 4/0)                                                                           1430 to 1530
Whitlock/Financial Crimes Unit          Farmer
4 hours (Rev B)                         1 hour
                                                                       Ingalsbe/Dr. Tartaglini                                                                          TEST 10
                                                                                                                                                                        CSPD-24
                                                                       4 hours
                                                                                                                                                                        Staff
                                        1230 to 1330                                                                                                                    1 hour
                                        Major Case Considerations
                                        (Computer Crime)                                                                                                                1530 to 1730
                                        BASIC-VII-G (Post 14/5)                                                                                                         CRS – TITLE 12
                                        Whitlock/Det. Curtis                                                                                                            (Liquor Code)
                                        1 hour (Rev B)                                                                                                                  BASIC-II-G (Post 2/0)
                                                                                                                                                                        Whitlock /VNI
                                                                                                                                                                        2 hours




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                                                                                                                                                                                    CITY DEFS - 006279
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                                                  Notes:




           MONDAY                                 TUESDAY                    WEDNESDAY                                      THURSDAY                                                 FRIDAY
           10/30/17                                10/31/17                     11/01/17                                      11/02/17                                               11/03/17
                                                                             **Start Time**                                **Start Time**                                         **Start Time**
0800 to 1000                            0800 to 1100                   1330 to 1830 (Group 2)                    1330 to 1830 (Group 2)                                 1000 to 1200
IDENTITY THEFT                                                         REALITY BASED TRAINING-                   REALITY BASED TRAINING-
                                        Interaction with Special                                                                                                        REPORT WRITING
BASIC-II-J (Post 2/0)                                                  ISOLATION DRILLS                          PRACTICAL
                                        Populations Basic III-D                                                  VEHICLE CONTACTS                                       BASIC-VIII-A (Post 24/4)
Whitlock/Financial Crimes Unit          (POST 2/2)                     VEHICLE CONTACTS                                                                                 2 hours
                                                                                                                 BASIC-V-E (Post 16/0)
2 hours (Rev B)                                                        BASIC-V-E (Post 16/2)
                                        Thompson/Sgt. D. Thompson      Compton
                                                                                                                 Compton                                                (Scenario week 17)
                                                                                                                 5 hours
1000 to 1100                             3 hours (Rev B)               5 hours                                   Ingalsbe
MAJOR CASE CONSIDERATIONS                                              Ingalsbe
(Fraud/White Collar Crime)                                                                                       (10 hours total)
BASIC-VII-G (Post 14/4)                                                ( 10 hours total)
Whitlock/Financial Crimes Unit
1 hour (Rev B)

             Lunch                                   Lunch                         Lunch                                       Lunch                                                   Lunch
     1100 to 1200 (1 hour) 7                1100 to 1130 (30 min.) 5      1830 to 1900 (30 min.) 10                   1830 to 1900 (30 min.) 10                              1200 to 1230 (30 min.) (7)
                                                                                                                                                                                      (39)(80)
1200 to 1600                            1130 to 1230                   1900 to 0000 (Group 2)                    1900 to 0000 (Group 2)                                 1230 to 1430
ID Theft/Fraud Cont.                    INTERACTION WITH SPECIAL       REALITY BASED TRAINING-                   REALITY BASED TRAINING-                                SELF WORK TIME
(Fraud/White Collar Crime)              POPULATIONS                    ISOLATION DRILLS                          PRACTICAL                                              2 hours
CRS BASIC-II-D (Post 32/0)              BASIC-III-D (Post 2/0)         Ingalsbe                                  Ingalsbe
                                                                                                                                                                        1430 to 1530
Whitlock/Financial Crimes Unit          Farmer                         5 hours                                                                                          TEST 10
4 hours (Rev B)                         1 hour                          (10 hours total)                         HANDLING IN PROGRESS                                   CSPD-24
                                                                                                                 CALLS (Practical)                                      Staff
                                        1230 to 1330                                                             BASIC-V-G (Post 8/0)                                   1 hour
                                        Major Case Considerations                                                Compton
                                        (Computer Crime)                                                         5 hours                                                1530 to 1730
                                        BASIC-VII-G (Post 14/5)                                                                                                         CRS – TITLE 12
                                        Whitlock/Det. Curtis                                                                                                            (Liquor Code)
                                                                                                                  (10 hours total)
                                        1 hour (Rev B)                                                                                                                  BASIC-II-G (Post 2/0)
                                                                                                                                                                        Whitlock /VNI
                                                                                                                                                                        2 hours




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                                                                                                                                                                                CITY DEFS - 006280
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                                                  Notes:




           MONDAY                                TUESDAY                    WEDNESDAY                                     THURSDAY                                                     FRIDAY
           11/06/17                               11/07/17                    11/08/17                                      11/09/17                                                   11/10/17
                                               **Start Time**                                                            **Start Time**
0800 to 1130                            0700 to 1100                   0800 to 1300                            0730 to 1130                                            0800 to 1000
TRAFFIC CRASH                           TRAFFIC CRASH                  REALITY BASED TRAINING-                 HAZARDOUS MATERIALS                                     REPORT WRITING
DOCUMENTATION                           DOCUMENTATION                  TEST                                    BASIC-V-J (Post 4/0)                                    BASIC-VIII-A (Post 24/2)
BASIC-VI-C (Post 16/12.5)               BASIC-VI-C (Post 16/4.5)       Ingalsbe                                Compton/EPSO John Cole                                  Report/Scenarios
Thompson /Hayden                        Thompson/Hayden                5 hours                                 4 hours total (Rev. E)                                  2 hours (Rev. E)
3.5 hours                               4 hours
                                                                                                                                                                       1000 to 1100
                                                                                                                                                                       WELLNESS LAB
                                                                                                                                                                       WELLNESS IX-B
                                                                                                                                                                        (Post 24/4)
                                                                                                                                                                       Van Ooyen
                                                                                                                                                                       1 hour (Rev.E)



             Lunch                                   Lunch                        Lunch                                       Lunch                                                       3 (40.5)
    1130 to 1230 (1 hour) 8.5               1100 to 1200 (1 hour) 10     1300 to 1330 (30 min) 10                    1130 to 1200 (30 min.) 9

1230 to 1630
TRAFFIC CRASH
                                        1200 to 1800
                                        TRAFFIC CRASH
                                                                       1330 to 1830
                                                                       REALITY BASED TRAINING-
                                                                                                               1200 to 1400
                                                                                                               CIVIL DISPUTES                                           NO CLASSES
                                                                                                               BASIC-V-H (Post 2/0)
DOCUMENTATION                           DOCUMENTATION                  TEST                                    Compton
BASIC-VI-C (Post 16/8.5)                BASIC-VI-C (Post 16/0)         Ingalsbe                                2 hours
Thompson /Hayden                        Thompson /Hayden               5 hours
                                                                                                               1400 to 1600
4 hours                                 6 hours                         (10 hours total)
                                                                                                               BIO-HAZARD AWARENESS
                                                                                                               BASIC-V-Q (Post 2/0)
1630 to 1730                                                                                                   Compton
WELLNESS LAB                                                                                                   2 hours
WELLNESS IX-B
 (Post 24/3)                                                                                                   1600 to 1700
Van Ooyen
                                                                                                               ADMIN
1 hour
                                                                                                               Timora
                                                                                                               1 hour (Rev. C)




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                                                                                                                                                                                  CITY DEFS - 006281
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                                                  Notes:




          MONDAY                                 TUESDAY                       WEDNESDAY                                            THURSDAY                                                 FRIDAY
           11/13/17                               11/14/17                        11/15/17                                            11/16/17                                               11/17/17
        **Start Time**                         **Start Time**                  **Start Time**                                      **Start Time**                                         **Start Time**
0900 to 1100                            0830 to 1330                    0830 to 1330                                     0830 to 1330                                            0700 to 0900
LAW ENFORCEMENT ROLE IN                                                                                                                                                          REPORT WRITING
                                        REALITY BASED TRAINING          REALITY BASED TRAINING                           REALITY BASED TRAINING
TERRORISM (WMD)                                                                                                                                                                  BASIC-VIII-A (Post 24/0)
                                        –PRACTICAL                      -PRACTICAL                                       -PRACTICAL-                                             2 hours
BASIC-V-O (Post 4/1)                    Ingalsbe                        Ingalsbe                                         Ingalsbe                                                (Scenario week 19)
Whitlock/ Sgt. Arseneau
 1   hour
                                                                                                                         5 hours (9 hours total)
                                        ARREST, SEARCH &                REPORT WRITING                                                                                           0900 to 1100
MAJOR CASE CONSIDERATIONS               SEIZURE                         BASIC-VIII-A (Post 24/0)                                                                                 SELF WORK TIME
(Arson)                                 BASIC-II-A (Post 12/0)          Thompson                                                                                                 2 hours
BASIC-VII-G (Post 14/3)                 Ingalsbe                        5 hours
Whitlock/Arseneau                       5 hours                                                                                                                                  1100 to 1200
1 hour                                                                                                                                                                           TEST 11
                                                                                                                                                                                 CSPD-24
                                                                                                                                                                                 Staff 1 hour

             Lunch                                  Lunch                           Lunch                                               Lunch                                                   5 (39.5) (80)
    1100 to 1200 (1 hour) 6.5              1330 to 1400 (30 min.) 9.5      1330 to 1400 (30 min.) 9.5                          1330 to 1400 (30 min.) 9

                                        1400 to 18 30                   1400 to 1830                                     1400 to 1800
                                                                                                                                                                                 NO CLASS
1200 to 1400
SPECIAL WEAPONS AND TACTICS
                                        REALITY BASED TRAINING          REALITY BASED TRAINING                           REALITY BASED TRAINING
(SWAT) and K-9
BASIC-V-L (Post 2/0)                    –PRACTICAL                      EXCERCISE                                        -PRACTICAL-
2 hours                                 Ingalsbe                        Ingalsbe                                         Ingalsbe
                                                                        2 hours                                          4 hours
1400 to 1600                            MAJOR CASE
HOSTAGE TAKING AND CRISIS               CONSIDERATIONS/MOCK CRIME
                                                                        REPORT WRITING
NEGOTIATION                             SCENE
                                                                        BASIC-VIII-A (Post 24/0)
BASIC-V-M (Post 2/0)                    BASIC VII-G (Post 14/0)
                                                                        Thompson
VanOoyen/Sgt. Wolf./Sgt. Cummings       Ingalsbe
                                                                        2.5 hours
2 hours                                 4.5 hours
                                        (9.5 hours total)               (9.5 hours total)
1600 to 1630
Admin
Timora
30 min. (Rev. E)




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                                                  Notes:




           MONDAY                                 TUESDAY                      WEDNESDAY                                     THURSDAY                                                   FRIDAY
           11/20/17                                11/21/17                      11/22/17                                     11/23/17                                                  11/24/17

0800 to 1200
MAJOR CASE CONSIDERATIONS
                                        0800 to 1200
                                        BIAS MOTIVATED HATE
                                                                       0730 to 1130
                                                                       CHILDREN’S CODE                                    HOLIDAY                                                HOLIDAY
( Offenses/Crimes Against Children)
(Post 14/0)
                                        CRIMES
                                        BASIC-III-C (Post 4/0)
                                                                       Title 19                                 8 hours personal time                                  6 hours personal time
                                                                       BASIC-II-E (Post 4/0)
BASIC-VII-G                             Thompson/Jeremy Shaver (ADL)
Whitlock/Sgt. Chacon/Det. T.            4 hours
                                                                       Whitlock/Sgt.
Clippinger                                                             Chacon/Clippinger
4 hours                                                                4 hours (Rev. A)




             Lunch                                   Lunch                          Lunch                                                8                                                  6 (38)
       1200 to 1300 (1 hour) 8              1200 to 1300 (1 hour) 9        1130 to 1230 (1 hour) 7
1300 to 1700                            1300 to 1600                   1230 to 1330
                                                                       ADMIN
SEXUAL ASSAULTS                         Dog Behavior
                                                                       Timora
BASIC-VII-F                             Van Ooyen/Thompson             1 hour (Rev. E)
(Post 4/0)                              CSPD-59
Whitlock/Sgt. Koch                      3 hours                        1330 to 1530
                                                                       WELLNESS LAB
4 hours
                                        1600 to 1800                   WELLNESS IX-B
                                        WELLNESS LAB                    (Post 24/0)**
                                        WELLNESS IX-B                  Van Ooyen
                                         (Post 24/1)                   2 hours (Rev. C)
                                        Van Ooyen
                                        2 hours




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                                                  Notes:




           MONDAY                               TUESDAY                         WEDNESDAY                                       THURSDAY                                                 FRIDAY
           11/27/17                              11/28/17                         11/29/17                                        11/30/17                                               12/01/17
                                             ***Start Time***                                                                  **Start Time**                                         **Start Time**
0800 to 1200                            0730 to 1130 (Group 1)           0800 to 1000                                0700 to 1200                                           0700 to 1100
Judicial Process                        ARREST CONTROL                   Courtroom Testimony                         COURT TESTIMONY                                        LEADERSHIP
JUDICIAL PROCESS                         (Post 62/0)                     BASIC-II-I (POST 4/2)                       (Moot Court)                                           BASIC-VIII-C (Post 2/0)
                                                                         DA Jim Bentley/Terry Sample
(Admin. Of Justice)                     Van Ooyen                                                                    BASIC-II-I (Post 4/0)                                  Sgt. Frabbiele/Lt. Edmondson
(Jurisdiction of Courts)                                                 2 hours
                                        4 hours                                                                      *At County Courthouse*                                 4 hours
BASIC-I-B (Post 4/0)                                                                                                 Ingalsbe/DA Jim Bentley                                (Rev. F)
Ingalsbe/D.A. May/Michael Curan                                          1000 to 1100                                5 hours (8 hours total)
4 hours                                                                  Courtroom Prep                                                                                     1100 to 1200
                                                                         Court Testimony Preparations                                                                       Self Work Time/Admin
                                                                         (Moot Court)                                                                                       Timora
                                                                         Basic-II-I (Post 4/0) Inglasbe
                                                                         1 hour
                                                                                                                                                                            1 hour
                                                                                                                                                                            (Rev. F)


              Lunch                                   Lunch                            Lunch                                              Lunch                                            Lunch
      1200 to 1300 (1 hour) 8                1130 to 1230 (1 hour) 9.5         1100 to 1200 (1 hour) 7                       1200 to 1300 (1 hour) 9.5                        1200 to 1300 (1 hour) 8 (42) (80)

1300 to 1700                            1230 to 1630 (Group 1)           1200 to 1400                                1300 to 1730                                           1300 to 1500
CRS BASIC-II-D (Post 32/0)              CRS RESEARCH/ EXAM               BUILDING SEARCHES                           COURT TESTIMONY                                        SELF WORK TIME
Review                                  PROJECT CRS GENERAL              BASIC-V-F (Lecture)                         (Moot Court)                                           2 hours
Whitlock                                BASIC-II-D (Post 32/0)            (Post 12/10)                               BASIC-II-I (Post 4/0)                                   (Rev. F)
                                        TEST 12                                                                      *At County Courthouse*
4 hours                                 CRS OPEN BOOK
                                                                         Van Ooyen                                   Ingalsbe/DA Jim Bentley                                1500 to 1600
                                        Thompson                         2 hours                                     4.5 hours (8 hours total)                              TEST 13
                                        4 hours                                                                                                                             CSPD-24
                                                                         1400 to 1600
                                                                                                                                                                            Thompson
                                                                         WELLNESS LAB
                                        1630 to 1800                     WELLNESS IX-B                                                                                      1 hour (Rev. F)
                                        WELLNESS LAB (All Recruits)       (Post 24/0)
                                        WELLNESS IX-B                    Van Ooyen
                                         (Post 24/0)                     2 hours
                                        Van Ooyen
                                        1.5 hours




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                                                  Notes:




             ONDAY                              TUESDAY                         WEDNESDAY                                       THURSDAY                                                 FRIDAY
             11/27/17                            11/28/17                         11/29/17                                        11/30/17                                               12/01/17
                                             ***Start Time***                                                                  **Start Time**                                         **Start Time**
0800 to 1200                            0730 to 1130 (Group 2)           0800 to 1000                                0700 to 0900                                           0700 to 1200
Judicial Process                        CRS RESEARCH/ EXAM               Courtroom Testimony                         SELF WORK TIME                                         COURT TESTIMONY
JUDICIAL PROCESS                        PROJECT CRS GENERAL              BASIC-II-I (POST 4/2)                       2 hours                                                (Moot Court)
                                                                         DA Jim Bentley/Terry Sample
(Admin. Of Justice)                     BASIC-II-D (Post 32/0)                                                                                                              BASIC-II-I (Post 4/0)
(Jurisdiction of Courts)                                                 2 hours
                                        TEST 12                                                                      0900 to 1000                                           *At County Courthouse*
BASIC-I-B (Post 4/0)                    CRS OPEN BOOK                                                                TEST 13                                                Ingalsbe/DA Jim Bentley
Ingalsbe/D.A. May/Michael Curan
                                        Thompson                         1000 to 1100                                CSPD-24                                                5 hours (8 hours total)
4 hours                                                                  Courtroom Prep
                                        4 hours                                                                      Thompson
                                                                         Court Testimony Preparations                1 hour
                                                                         (Moot Court)
                                                                         Basic-II-I (Post 4/0) Inglasbe              1000 to 1100
                                                                         1 hour                                      SELF WORK TIME/ADMIN
                                                                                                                     Timora
                                                                                                                     1 hour



              Lunch                                   Lunch                            Lunch                                          Lunch                                                     Lunch
      1200 to 1300 (1 hour) 8                1130 to 1230 (1 hour) 9.5         1100 to 1200 (1 hour) 7                        1100 to 1200 (1 hour) 8                           1200 to 1300 (1 hour) 9.5 (42)
                                                                                                                                                                                                   (80)
1300 to 1700                            1230 to 1630 (Group 2)           1200 to 1400                                1200 to 1600                                           1300 to 1730
CRS BASIC-II-D (Post 32/0)              ARREST CONTROL                   BUILDING SEARCHES                           LEADERSHIP                                             COURT TESTIMONY
Review                                   (Post 62/0)                     BASIC-V-F (Lecture)                         BASIC-VIII-C (Post 2/0)                                (Moot Court)
Whitlock                                Van Ooyen                         (Post 12/10)                               Sgt. Frabbiele/Lt. Edmondson                           BASIC-II-I (Post 4/0)
                                        4 hours                                                                      4 hours                                                *At County Courthouse*
4 hours                                                                  Van Ooyen                                                                                          Ingalsbe/DA Jim Bentley
                                        1630 to 1800                     2 hours                                                                                            4.5 hours (8 hours total)
                                        WELLNESS LAB (All Recruits)
                                        WELLNESS IX-B                    1400 to 1600
                                         (Post 24/0)                     WELLNESS LAB
                                        Van Ooyen                        WELLNESS IX-B
                                        1.5 hours                         (Post 24/0)
                                                                         Van Ooyen
                                                                         2 hours




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                                                  Notes:




           MONDAY                                 TUESDAY                   WEDNESDAY                                     THURSDAY                                                    FRIDAY
           12/04/17                                12/05/17                   12/06/17                                     12/07/17                                                   12/08/17

0730 to 1130                            1300 to 1700                  1300 to 1700                            0900to 1200                                            1000 to 1400
FIREARMS BASIC-IV                       FIREARMS                      FIREARMS                                Range/Shield                                           FIREARMS
(Rifle)                                 (Rifle)                       (Rifle/Quals)                           Acey/Clippinger                                        Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger               Acey/Clippinger                         3 hours (Rev. A)                                       4 hours
4 hours                                 4 hours (Rev. F)              4 hours

**Start Time is varied
please check schedule
daily***

             Lunch                                  Lunch                        Lunch                                       Lunch                                                Lunch
     1130 to 1230 (1 hour) 8                1700 to 1800 (1 hour) 8      1700 to 1800 (1 hour) 8                     1200 to 1300 (1 hour) 8                            1400 to 1500 (1 hour) 8 (40)

1230 to 1630                            1800 to 2200                  1800 to 2200                            1300 to 1500                                           1500 to 1900
FIREARMS BASIC-IV                       FIREARMS                      FIREARMS                                FIREARMS                                               FIREARMS
(Rifle)                                 (Rifle)                       (Rifle/Quals)                           Acey/Clippinger                                        Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger               Acey/Clippinger                         2 hours (Rev. A)                                       4 hours
 4 hours                                4 hours (Rev. F)              4 hours
                                                                                                              1500 to 1700
                                                                                                              FIREARMS
                                                                                                              Acey/Clippinger
                                                                                                              3 hours (Rev. A)




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                                                  Notes:




         MONDAY                                TUESDAY                   WEDNESDAY                                     THURSDAY                                                 FRIDAY
         12/04/17                               12/05/17                    12/06/17                                     12/07/17                                               12/08/17
                                                                         **Start Time**                               **Start Time**                                         **Start Time**
0800 to 1200                        0800 to 1200                    0900 to 1300                            0730 to 1130                                            0730 to 1230
DUI ENFORCEMENT                     DUI ENFORCEMENT                 DUI ENFORCEMENT                         ARREST CONTROL                                          CROWD CONTROL
BASIC-VI-D (Post 24/20)             BASIC-VI-D (Post 24/12)         BASIC-VI-D (Post 24/4)                  MEB                                                     BASIC-V-I (Post 4/0)
SFST’S                              SFST’S                          (Wet lab)                                (Post 62/0)                                            Training Academy
                                                                                                                                                                    Thompson/Sgt. Lazoff/Sgt.
Thompson/DUI Unit                   Thompson/DUI Unit               Thompson/DUI Unit                       Van Ooyen/Whitlock                                      Wisler/Sgt. Frederic
4 hours                              4 hours                        4 hours                                 4 hours                                                 5 hours




           Lunch                                  Lunch                         Lunch                                      Lunch                                                 Lunch
   1200 to 1300 (1 hour) 8                1200 to 1300 (1 hour) 8       1300 to 1400 (1 hour)8                     1130 to 1230 (1 hour) 8                             1230 to 1330 (1 hour) 8 (40)
1300 to 1700                        1300 to 1700                    1400 to 1800                            1230 to 1630                                            1330 to 1530
DUI ENFORCEMENT                     DUI ENFORCEMENT                 DUI ENFORCEMENT                         ARREST CONTROL                                          WELLNESS LAB
                                                                                                                                                                    WELLNESS IX-B
BASIC-VI-D (Post 24/16)             BASIC-VI-D (Post 24/8)          BASIC-VI-D (Post 24/0)                  MEB
                                                                                                                                                                    Shalimar
SFST’S                              SFST’S                          (Wet Lab)                               TEST 15 (MEB)                                            (Post 24/0)
Thompson/DUI Unit                   Thompson /DUI Unit              TEST 14                                 Drill Training                                          Van Ooyen
4 hours                             4 hours                         Thompson /DUI Unit                      2 hours                                                 2 hours
                                                                    4 hours                                 (Post 62/0)
                                                                                                            Van Ooyen/Whitlock                                      1530 to 1630
                                                                                                            4 hours total                                           Admin
                                                                                                                                                                    Timora
                                                                                                                                                                    1 hour




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                                                                                                                                                                                 CITY DEFS - 006287
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                                                  Notes:




         MONDAY                                  TUESDAY                      WEDNESDAY                                      THURSDAY                                               FRIDAY
          12/04/17                                12/05/17                      12/06/17                                      12/07/17                                              12/08/17
       **Start Time**                          **Start Time**                                                                                                                    **Start Time**

0700 to 1200                            0800 to 1200                   0800 to 1200                             0800 to 1100                                            RIDE-ALONG
BUILDING SEARCHES                       RAPID EMERGENCY                ARREST CONTROL                           CPR/Narcan                                              PROGRAM (Group C)
                                                                                                                                                                        CSPD-56
(Practical/Scenarios) (Post 12/5)       DEPLOYMENT                     TEST 16 (OC)                             CSPD-3                                                  Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                Drill Training                           Compton                                                 10 hours
Van Ooyen                                                              2 hours
                                        BASIC-V-N (Post 8/4)                                                    3 hours                                                 Specific Times TBD
5 hours                                 VanOoyen/TEU                   (Post 62/0)
(10 hours total)                        4 hours (8 hours total)        CSPD-23
                                                                       Van Ooyen/Thompson
                                                                       4 hours total



              Lunch                                  Lunch                         Lunch                                       Lunch                                                        10 (40)
     1200 to 1300 (1 hour)10                 1200 to 1300 (1 hour) 8       1200 to 1300 (1 hour) 5                     1100 to 1200 (1 hour) 7

1300 to 1800                            1300 to 1700                   1300 to 1400                             1200 to 1400                                            RIDE-ALONG PROGRAM
BUILDING SEARCHES                       RAPID EMERGENCY                Admin                                    CRIME SCENE SEARCH                                      (Group C)
                                                                                                                                                                        CSPD-56
(Practical/Scenarios) (Post 12/0)       DEPLOYMENT                     Timora                                   BASIC-VII-B (Post 2/0)
                                                                                                                                                                        Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                1 hour (Rev. C)                          Compton/Reed                                            10 hours
Van Ooyen
                                        BASIC-V-N (Post 8/0)                                                    2 hours                                                 Specific Times TBD
5 hours                                 VanOoyen /TEU
(10 hours total)                                                                                                1400 to 1600
                                        4 hours (8 hours total)                                                 AREA SEARCHES AND
                                                                                                                PERIMETERS
                                                                                                                BASIC-V-K (Post 2/0)
                                                                                                                Compton/Reed
                                                                                                                2 hours




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                                                                                                                                                                                   CITY DEFS - 006288
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                                                  Notes:




         MONDAY                                  TUESDAY                      WEDNESDAY                                      THURSDAY                                               FRIDAY
          12/11/17                                12/12/17                      12/13/17                                      12/14/17                                              12/15/17
       **Start Time**                          **Start Time**                                                                                                                    **Start Time**
0700 to 1200                            0800 to 1200                   0800 to 1200                             0800 to 1100                                            RIDE-ALONG
BUILDING SEARCHES                       RAPID EMERGENCY                ARREST CONTROL                           CPR/Narcan                                              PROGRAM (Group A)
                                                                                                                                                                        CSPD-56
(Practical/Scenarios) (Post 12/5)       DEPLOYMENT                     TEST 16 (OC)                             CSPD-3                                                  Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                Drill Training                           Compton                                                 10 hours
Van Ooyen                                                              2 hours
                                        BASIC-V-N (Post 8/4)                                                    3 hours                                                 Specific Times TBD
5 hours                                 VanOoyen/TEU                   (Post 62/0)
(10 hours total)                        4 hours (8 hours total)        CSPD-23
                                                                       Van Ooyen/Thompson
                                                                       4 hours total



              Lunch                                  Lunch                         Lunch                                       Lunch                                                        10 (40)
     1200 to 1300 (1 hour)10                 1200 to 1300 (1 hour) 8       1200 to 1300 (1 hour) 5                     1100 to 1200 (1 hour) 7

1300 to 1800                            1300 to 1700                   1300 to 1400                             1200 to 1400                                            RIDE-ALONG PROGRAM
BUILDING SEARCHES                       RAPID EMERGENCY                Admin                                    CRIME SCENE SEARCH                                      (Group A)
                                                                                                                                                                        CSPD-56
(Practical/Scenarios) (Post 12/0)       DEPLOYMENT                     Timora                                   BASIC-VII-B (Post 2/0)
                                                                                                                                                                        Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                1 hour (Rev. C)                          Compton/Reed                                            10 hours
Van Ooyen
                                        BASIC-V-N (Post 8/0)                                                    2 hours                                                 Specific Times TBD
5 hours                                 VanOoyen /TEU
(10 hours total)                                                                                                1400 to 1600
                                        4 hours (8 hours total)                                                 AREA SEARCHES AND
                                                                                                                PERIMETERS
                                                                                                                BASIC-V-K (Post 2/0)
                                                                                                                Compton/Reed
                                                                                                                2 hours




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                                                  Notes:




           MONDAY                                 TUESDAY                   WEDNESDAY                                     THURSDAY                                                   FRIDAY
           12/11/17                                12/12/17                   12/13/17                                     12/14/17                                                  12/15/17

0730 to 1130                            1300 to 1700                  1300 to 1700                            0900to 1200                                            1000 to 1400
FIREARMS BASIC-IV                       FIREARMS                      FIREARMS                                Range/Shield                                           FIREARMS
(Rifle)                                 (Rifle)                       (Rifle/Quals)                           Acey/Clippinger                                        Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger               Acey/Clippinger                         3 hours (Rev. A)                                       4 hours
4 hours                                 4 hours (Rev. F)              4 hours

**Start Time is varied please
check schedule daily***




             Lunch                                  Lunch                        Lunch                                      Lunch                                                 Lunch
     1130 to 1230 (1 hour) 8                1700 to 1800 (1 hour) 8      1700 to 1800 (1 hour) 8                    1200 to 1300 (1 hour) 8                             1400 to 1500 (1 hour) 8 (40)

1230 to 1630                            1800 to 2200                  1800 to 2200                            1300 to 1500                                           1500 to 1900
FIREARMS BASIC-IV                       FIREARMS                      FIREARMS                                FIREARMS                                               FIREARMS
(Rifle)                                 (Rifle)                       (Rifle/Quals)                           Acey/Clippinger                                        Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger               Acey/Clippinger                         2 hours (Rev. A)                                       4 hours
 4 hours                                4 hours (Rev. F)              4 hours
                                                                                                              1500 to 1700
                                                                                                              FIREARMS
                                                                                                              Acey/Clippinger
                                                                                                              3 hours (Rev. A)




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                                                  Notes:




           MONDAY                                  TUESDAY                  WEDNESDAY                                       THURSDAY                                                  FRIDAY
           12/11/17                                 12/12/17                   12/13/17                                       12/14/17                                                12/15/17
                                                                            **Start Time**                                 **Start Time**                                          **Start Time**
0800 to 1200                            0800 to 1200                   0900 to 1300                              0730 to 1130                                            0730 to 1230
DUI ENFORCEMENT                         DUI ENFORCEMENT                DUI ENFORCEMENT                           ARREST CONTROL                                          CROWD CONTROL
BASIC-VI-D (Post 24/20)                 BASIC-VI-D (Post 24/12)        BASIC-VI-D (Post 24/4)                    MEB                                                     BASIC-V-I (Post 4/0)
SFST’S                                  SFST’S                         (Wet lab)                                  (Post 62/0)                                            Training Academy
                                                                                                                                                                         Thompson/ Sgt. Lazoff/Sgt.
Thompson/DUI Unit                       Thompson/DUI Unit              Thompson/DUI Unit                         Van Ooyen/Whitlock                                      Wisler/Sgt. Frederic
4 hours                                  4 hours                       4 hours                                    4 hours                                                5 hours




             Lunch                                   Lunch                         Lunch                                        Lunch                                                Lunch
     1200 to 1300 (1 hour) 8                 1200 to 1300 (1 hour) 8       1300 to 1400 (1 hour)8                       1130 to 1230 (30min.) 8                            1230 to 1330 (1 hour) 8 (40)
                                                                                                                                                                                      (80)
1300 to 1700                            1300 to 1700                   1400 to 1800                              1230 to 1630                                            1330 to 1530
DUI ENFORCEMENT                         DUI ENFORCEMENT                DUI ENFORCEMENT                           ARREST CONTROL                                          WELLNESS LAB
                                                                                                                                                                         WELLNESS IX-B
BASIC-VI-D (Post 24/16)                 BASIC-VI-D (Post 24/8)         BASIC-VI-D (Post 24/0)                    MEB
                                                                                                                                                                         Shalimar
SFST’S                                  SFST’S                         (Wet Lab)                                 TEST 15                                                  (Post 24/0)
Thompson/DUI Unit                       Thompson /DUI Unit             TEST 14                                   Drill Training                                          Van Ooyen
4 hours                                 4 hours                        Thompson /DUI Unit                        2 hours                                                 2 hours
                                                                       4 hours
                                                                                                                 (Post 62/0)                                             1530 to 1630
                                                                                                                 Van Ooyen/Whitlock                                      Admin
                                                                                                                 4 hours total                                           Timora
                                                                                                                                                                         1 hour




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                                                  Notes:




           MONDAY                                  TUESDAY                  WEDNESDAY                                      THURSDAY                                                  FRIDAY
           12/18/17                                 12/19/17                   12/20/17                                      12/21/17                                                12/22/17
                                                                            **Start Time**                                **Start Time**                                          **Start Time**
0800 to 1200                            0800 to 1200                   0900 to 1300                              0730 to 1130                                            0730 to 1230
DUI ENFORCEMENT                         DUI ENFORCEMENT                DUI ENFORCEMENT                           ARREST CONTROL                                          CROWD CONTROL
BASIC-VI-D (Post 24/20)                 BASIC-VI-D (Post 24/12)        BASIC-VI-D (Post 24/4)                    MEB                                                     BASIC-V-I (Post 4/0)
SFST’S                                  SFST’S                         (Wet lab)                                  (Post 62/0)                                            Training Academy
                                                                                                                                                                         Thompson/ Sgt. Lazoff/Sgt.
Thompson/DUI Unit                       Thompson/DUI Unit              Thompson/DUI Unit                         Van Ooyen/Whitlock                                      Wisler/Sgt. Frederic
4 hours                                  4 hours                       4 hours                                    4 hours                                                5 hours




             Lunch                                   Lunch                         Lunch                                       Lunch                                                  Lunch
     1200 to 1300 (1 hour) 8                 1200 to 1300 (1 hour) 8       1300 to 1400 (1 hour)8                      1130 to 1230 (30min.) 8                              1230 to 1330 (1 hour) 8 (40)
1300 to 1700                            1300 to 1700                   1400 to 1800                              1230 to 1630                                            1330 to 1530
DUI ENFORCEMENT                         DUI ENFORCEMENT                DUI ENFORCEMENT                           ARREST CONTROL                                          WELLNESS LAB
                                                                                                                                                                         WELLNESS IX-B
BASIC-VI-D (Post 24/16)                 BASIC-VI-D (Post 24/8)         BASIC-VI-D (Post 24/0)                    MEB
                                                                                                                                                                         Shalimar
SFST’S                                  SFST’S                         (Wet Lab)                                 TEST 15                                                  (Post 24/0)
Thompson/DUI Unit                       Thompson /DUI Unit             TEST 14                                   Drill Training                                          Van Ooyen
4 hours                                 4 hours                        Thompson /DUI Unit                        2 hours                                                 2 hours
                                                                       4 hours                                   (Post 62/0)
                                                                                                                 Van Ooyen/Whitlock                                      1530 to 1630
                                                                                                                 4 hours total                                           Admin
                                                                                                                                                                         Timora
                                                                                                                                                                         1 hour




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                                                  Notes:




          MONDAY                                 TUESDAY                      WEDNESDAY                                        THURSDAY                                                FRIDAY
           12/18/17                               12/19/17                      12/20/17                                        12/21/17                                               12/22/17
        **Start Time**                         **Start Time**                                                                                                                       **Start Time**
0700 to 1200                            0800 to 1200                   0800 to 1200                               0800 to 1100                                            RIDE-ALONG
BUILDING SEARCHES                       RAPID EMERGENCY                ARREST CONTROL                             CPR/Narcan                                              PROGRAM (Group B)
                                                                                                                                                                          CSPD-56
(Practical/Scenarios) (Post 12/5)       DEPLOYMENT                     TEST 16 (OC)                               CSPD-3                                                  Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                Drill Training                             Compton                                                 10 hours
Van Ooyen                                                              2 hours
                                        BASIC-V-N (Post 8/4)                                                      3 hours                                                 Specific Times TBD
5 hours                                 VanOoyen/TEU                   (Post 62/0)
(10 hours total)                        4 hours (8 hours total)        CSPD-23
                                                                       Van Ooyen/Thompson
                                                                       4 hours total




              Lunch                                  Lunch                          Lunch                                        Lunch                                                         10 (41)
     1200 to 1300 (1 hour)10                 1200 to 1300 (1 hour) 8        1200 to 1300 (1 hour) 5                      1100 to 1200 (1 hour) 7

1300 to 1800                            1300 to 1700                   1300 to 1400                               1200 to 1400                                            RIDE-ALONG PROGRAM
BUILDING SEARCHES                       RAPID EMERGENCY                Admin                                      CRIME SCENE SEARCH                                      (Group B)
                                                                                                                                                                          CSPD-56
(Practical/Scenarios) (Post 12/0)       DEPLOYMENT                     Timora                                     BASIC-VII-B (Post 2/0)
                                                                                                                                                                          Sgt. Frabbiele/Patrol PTO’s
BASIC-V-F                               (Active Gunman)                1 hour (Rev. C)                            Compton/Reed                                            10 hours
Van Ooyen
                                        BASIC-V-N (Post 8/0)                                                      2 hours                                                 Specific Times TBD
5 hours                                 VanOoyen /TEU
(10 hours total)                                                                                                  1400 to 1600
                                        4 hours (8 hours total)                                                   AREA SEARCHES AND
                                                                                                                  PERIMETERS
                                                                                                                  BASIC-V-K (Post 2/0)
                                                                                                                  Compton/Reed
                                                                                                                  2 hours




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                                                  Notes:




           MONDAY                                  TUESDAY                   WEDNESDAY                                        THURSDAY                                                    FRIDAY
           12/18/17                                 12/19/17                   12/20/17                                        12/21/17                                                   12/22/17

0730 to 1130                            1300 to 1700                   1300 to 1700                              0900to 1200                                             1000 to 1400
FIREARMS BASIC-IV                       FIREARMS                       FIREARMS                                  Range/Shield                                            FIREARMS
(Rifle)                                 (Rifle)                        (Rifle/Quals)                             Acey/Clippinger                                         Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger                Acey/Clippinger                           3 hours (Rev. A)                                        4 hours
4 hours                                 4 hours (Rev. F)               4 hours

**Start Time is varied
please check schedule
daily***




             Lunch                                   Lunch                         Lunch                                        Lunch                                                  Lunch
     1130 to 1230 (1 hour) 8                 1700 to 1800 (1 hour) 8       1700 to 1800 (1 hour) 8                      1200 to 1300 (1 hour) 8                              1400 to 1500 (1 hour) 8 (40)

1230 to 1630                            1800 to 2200                   1800 to 2200                              1300 to 1500                                            1500 to 1900
FIREARMS BASIC-IV                       FIREARMS                       FIREARMS                                  FIREARMS                                                FIREARMS
(Rifle)                                 (Rifle)                        (Rifle/Quals)                             Acey/Clippinger                                         Acey/Clippinger
Acey/Clippinger                         Acey/Clippinger                Acey/Clippinger                           2 hours (Rev. A)                                        4 hours
 4 hours                                4 hours (Rev. F)               4 hours
                                                                                                                 1500 to 1700
                                                                                                                 FIREARMS
                                                                                                                 Acey/Clippinger
                                                                                                                 3 hours (Rev. A)




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                                                  Notes:




           MONDAY                                  TUESDAY         WEDNESDAY                                     THURSDAY                                                    FRIDAY
           12/25/17                                 12/2617          12/27/17                                      12/28/17                                                  12/29/17
                                                                                                                **Split Day**
                                                                                                    0800 to 1200 Group 1                                    0800 to 1000
                                                                                                    DUI ENFORCEMENT                                         Self-Work Time
                                                                                                                                                            2 hours
         Christmas                                                                                  BASIC-VI-D (Post 24/0)
                                                                                                    Intoxilyzer
                                                                                                    Thompson / CDPHE                                        1000 to 1100
                                                                                                    4 hours                                                 TEST 17
8 hours holiday                         8 hours holiday         8 hours vacation                                                                            Thompson
                                                                                                                                                            1 hour
                                                                                                    0800 to 1200 Group 2
                                                                                                    REALITY BASED TRAINING-
                                                                                                    ISOLATION DRILLS
                                                                                                     (De-escalation)
                                                                                                    Simulator
                                                                                                    Ingalsbe
                                                                                                    4 hours

                  8                                       8             8                                          Lunch                                                Lunch
                                                                                                           1200 to 1300 (1 hour) 8                          1100 to 1200 (1 hour) 8 (40)(80)

                                                                                                    1300 to 1700 Group 1                                    1200 to 1600
                                                                                                    DUI ENFORCEMENT                                         ADMIN
                                                                                                    BASIC-VI-D (Post 24/0)                                  Phone configuration
                                                                                                    Intoxilyzer                                             Thompson/CSPD Tech
                                                                                                                                                            4 hours
                                                                                                    Thompson / CDPHE
                                                                                                    4 hours
                                                                                                                                                            1600 to 1700
                                                                                                                                                            ADMIN
                                                                                                    1300 to 1700 Group 2
                                                                                                                                                            Timora
                                                                                                    ARREST CONTROL
                                                                                                                                                            1 hour
                                                                                                    (Post 62/0)
                                                                                                    Van Ooyen
                                                                                                    4 hours




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                                                  Notes:




           MONDAY                                  TUESDAY                    WEDNESDAY                                           THURSDAY                                              FRIDAY
           01/01/18                                 01/02/18                    01/03/18                                            01/04/18                                            01/05/18
                                                                                                                                 **Split Day**                                     **Start Time/Split
                                                                                                                                                                                         Day**
                                        0800 to 1200 Group 1           0730 to 1000                                  0800 to 1200 Group 2                                    0730 to 1045 (1)
                                        TACTICAL CASUALTY CARE         ADMIN/CLASS PHOTO                             DUI ENFORCEMENT                                         1045 to 1130 (1)/
                                        (TCC)                          Timora                                        BASIC-VI-D (Post 24/0)                                  1230 to 1500 (2)
                                        BASIC-X-A (Post 8/4)           2.5 hours (Rev. G)                            Intoxilyzer                                             1500 to 1630 (2)
                                        BASIC-X-B
                                                                                                                     Thompson / CDPHE                                        REPORT WRITING
                                        Compton/AMR Medical Advisor    1000 to 1030
 6.5 hours holiday                      Staff                          Break                                         4 hours                                                 Basic-VIII-A (Post 24/0)
                                                                                                                                                                             Dictation and Final Clean Up
                                        4 hours                        30 min. (Rev. G)                                                                                      Thompson
                                                                                                                     0800 to 1200 Group 1
                                                                       1030 to 1230                                  REALITY BASED TRAINING-                                 3.25 hours (Rev. G)
(Rev. G)                                Group 2                        PTO PROGRAM                                   ISOLATION DRILLS
                                        Vacation 8 hours               CSPD-39                                        (De-escalation)                                        1045 to 1130
                                                                       Sgt. Frabbiele                                Simulator                                               Admin
                                                                       2 hours                                       Ingalsbe                                                .75 hours (Rev. G)
                                                                                                                     4 hours
                                                                                                                                                                             (4 hours total)
                 6.5                                 Lunch                         Lunch                                            Lunch                                                  Lunch
                                             1200 to 1300 (1 hour) 8      1230 to 1330 (1 hour) 8.5                         1200 to 1300 (1 hour) 8                              1130 to 1230 (1 hour) 8 (39)

                                        1300 to 1700 Group 1           1330 to 1530                                  1300 to 1700 Group 2                                    1230 to 1500 (2)
                                        TACTICAL CASUALTY CARE         PTO PROGRAM                                   DUI ENFORCEMENT                                         1500 to 1630 (2)/
                                        (TCC)                          CSPD-39                                       BASIC-VI-D (Post 24/0)                                  0730 to 1045 (1)
                                        BASIC-X-A (Post 8/0)           Sgt. Frabbiele                                Intoxilyzer                                             1045 to 1130 (1)
                                        BASIC-X-B                      2 hours (4 hours total)                                                                               CSPD Pursuit Policy
                                                                                                                     Thompson / CDPHE                                        Thompson/Van Ooyen
                                        Compton/ AMR Medical Advisor                                                 4 hours
                                        Staff                          1530 to 1730                                                                                          (2.5 hours) (Rev. G)
                                        4 hours                        PUTTING IT ALL TOGETHER
                                                                       CSPD-54                                       1300 to 1700 Group 1                                    1500 to 1630
                                                                       Sgt. Frabbiele                                ARREST CONTROL                                          Admin
                                                                       2 hours                                       (Post 62/0)                                             Timora
                                                                                                                     Van Ooyen                                               1.5 hours (Rev. G)
                                                                                                                     4 hours                                                 (4 hours total)



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                                                  Notes:




           MONDAY                                 TUESDAY                      WEDNESDAY                                           THURSDAY                                                  FRIDAY
           01/08/18                                01/09/18                       01/10/18                                           01/11/18                                                01/12/18
                                                 **Split day**                 **Start Time**                                     **Start Time**                                          **Start Time**
0800 to 1200 Group 2                    0800 to 1000                   0700 to 0900                                     0700 to 1100                                            0800 to 1230
TACTICAL CASUALTY CARE                  ADMIN TIME                     WELLNESS LAB                                     CSPD                                                    GRADUATION ACTIVITIES
(TCC)                                   ADMIN                          WELLNESS IX-B
                                                                                                                        GILMARTIN                                               ADMIN
BASIC-X-A (Post 8/4)                    Timora                         Shrine Run
                                                                        (Post 24/0)                                     **Library 21c**                                         Staff
BASIC-X-B                               2 hours (Rev. A)
                                                                       Van Ooyen                                        4 hours                                                 4.5 hours (Rev. G)
Compton/AMR Medical Advisor                                            2 hours
Staff                                   1000 to 1300
4 hours                                 TEST 18
                                        POST TEST                      0900 to1000
                                        CSPD-37                        Admin / Hygeine
Group 1                                 Staff 3 hours (Rev. A)         1 hour
Vacation 8 hours


             Lunch                                   Lunch                          Lunch                                              Lunch                                                 Lunch
     1200 to 1300 (1 hour) 8                 1300 to 1400 (1 hour) 9       1000 to 1100 (1 hour) 7.5                          1100 to 1200 (1 hour) 8.5                          1230 to 1330 (1 hour) 8(41)(80)

1300 to 1700 Group 2                    1400 to 1800                   1100 to 1200                                     1200 to 1500                                            1330 to 1700
                                        ADMIN TIME                     Final Inspection
TACTICAL CASUALTY CARE                                                                                                  CSPD                                                    GRADUATION ACTIVITIES
                                        ADMIN                          Staff/Timora
(TCC)                                                                                                                   GILMARTIN                                               ADMIN
                                                                       1 hour
BASIC-X-A (Post 8/0)                    Timora                                                                          **Library 21c                                           Staff
BASIC-X-B                               4 hours (Rev. A)               1200 to 1500                                     3 hours                                                 3.5 hours (Rev. G)
Compton/ AMR Medical Advisor                                           Investigative Roles and Responsibilities
                                                                                                                        (7 hours total)
Staff                                                                  CSPD-66
4 hours                                                                Thompson/ Pratt/Ditzler
                                                                       3 hours                                          1500 to 1630
                                                                                                                        ADMIN
                                                                       1500 to 1530
                                                                                                                        Timora
                                                                       ADMIN
                                                                       Ammo, OC, Taser Cartridge Distro                 1.5 hours (Rev. G)
                                                                       30 min. (Rev. G)




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